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@,4llstate.
Allstote Agency Support Center
                                                                                     lnformation as of July 5,2022
                                                                                     Policyholder(s)
                                                                                     Clover Meredith
                                                                                                                     Pagel of 2

PO Box 66O598
DallosTX 75266-0598
                                                                                      831 830 292

                                                                                     You may contact us at 1-800-4LLSTATE
    ,l,rl1l1l;grrllrl,l"llll,ll,l'lll,ll1,l111',1111'l'ltlrllllllrlr
                                                                                     or visit us at www.allstate.com.
    CLOVER MEREDITH
    820 3RD sT
    HEALDTON OK73438-1664




         Welcome to Allstate!
         Thank you for choosing Allstate for your House & Home insurance. We look forward to protecting what's
         important to you for many years.

         Here's your insurance policy
         Along with your new House & Home policy, we've included a guide to what's in this package and answers to
         some common questions.

         How to contact us
         Please give your Allstate Agent a call at 1-8OO-ALLSTATE (1-800-255-7828) if you have any questions.

         Sincerely,

         Julie Parsons
         President, Allstate Vehicle and Property lnsurance Company
                                                                                                                    NP211




                                                                                                           EXHIBIT
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  Policy number:                 831 830 292                                                                                       Page2 of 2
  Policy effective date:        )uly 4,2022




  Your Insurance Coverage Checklist
  We're happy to have you as an Allstate customer! This checklist outlines what's in this package and provides answers to some
  basic questions, as well as any "next steps" you may need to take.

  n   What's in this package?                                              n    What about my bill'.
      See the guide below  for the documents that are included.                 Unless you've already paid your premium in full, we'll send
      Nextsteps,'review your Policy Declarotions to confirm you                 your bill separately. Next steps.' please pay the minimum
      have the coverages, coverage limits, premiums and                         amount by the due date listed on it.
      savings that you requested and expected. Read any                         You can also pay your bill online at Allstate.com,/support
      Endorsements or lmportant Notices to learn about new                      or through the Allstate mobile app. lf you're enrolled in the
      policy changes, topics of special interest, as well as                    Allstate@ Easy Pay Plan, we'll send you a statement
      required communications. Keep all of these documents                      detailing your payment withdrawal schedule. Para
      with your other important insurance papers.                               espafi ol, llamar al 1-800-979-4285.

  n   Am I getting all the discounts I should?                             n    What if I have questions?
      Confirm with your Allstate Agent that you're benefiting                   Visit Allstate.com./support to browse our list of frequently
      from all the discounts you're eligible to receive.                        asked questions and find information regarding billing or
                                                                                policy documents. You can also create an online account
                                                                                to access and manage your policies. Para espafiol, llamar
                                                                                al 1-800-979-4285.




  A guide to your welcome package
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                       Policy

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  Policy              Policy             Policy              lmportant                lnsurance Made
  Declarations*      Your policy is      Endorsements   Notices                       Simple
  The Policy         your insurance    lf we make any   We use these                  lnsurance seem
  Declarations       contracU it lists changes to your notices to call                complicated?                                                  o
  lists policy       all of the terms  policy, these    attention to                  Our online                                                    o
                                                                                                                                                    o
  details, such as   and conditions of documents will   particularly                  guides explain                                                   o
                                                                                                                                                       o
  your property      your coverage.    include your new important                     coverage terms                                                   o
  details and                          contract         coverages, policy             and features:                                                    o
                                                             changes and              www.a llstate.com,/                                              o
  coverages.                             language.
                                                                                      madesimole
                                                             discounts.                                                                                N
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* To moke it eosier to se e where you may hove gops in your protection, we've highlighted ony coveroges you do not hove in the                    9N
                                                                                                                                                       o
                                                                                                                                                  9N
  Coveroge Detoil section in the enclosed Policy Declarations.                                                                                  -gR
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House & Home Policy Declarations
Your policy effective date is July 4,2022
                                                                                                       @,4llstate.
                                                                                                                                       Page 1 of 3


                                                                                                       lnformation as of July 5,2022
Total Premium              for the Policy Period
Premium for property insured                                                               $s,888.5s   Summary
Total                                                                               $5,888.65          Named lnsured(s)
                                                                                                       Clover Meredith
                                                                                                       Mailing address
DiSCOUntS           (included in your total premium)                                                   82O 3rd St
Protective Device                              Home Buyer                          $271.46             Healdton OK73438-1664
                                $3so.78
Responsible Payment             $1,151.72      Welcome                             $s84.80             Po   number
                                                                                                       831 830 292
 Total discount savings                                                             $2,358.76
                                                                                                       Your policy provided by
                                                                                                       Allstate Vehicle and Property
                                                                                                       lnsurance Company
lnsured property details*                                                                              Home Office:2775 Sanders Road
Please review and verify the information regarding your insured property. Please                       Northbrook, lllinois 60062
refer to the lmportant Notice (X73182-1) for additional coverage information.                          Policy period
Contact us if you have any changes.                                                                    Beginning July 4, 2022 lhrough luly 4,
location of property insured: 820 3rd St, Healdton, OK73438-1664                                       2023 at 12:01 a.m. standard time

Location zone: OK3438                                                                                  You may contact us at
                                                                                                       1-8OO-ALLSTATE
Your locotion zone is based on the locotion of the insured property and is one of many
                                                                                                       or visit us at
factors used in determining your rate.
                                                                                                       www.allstate.com
Dwelling Style:
 Built in 2013;l family;1800 sq. ft.;1 story                                                           Some or all of the information on your
                                                                                                       Policy Declarations is used in the rating
Foundation:
                                                                                                       of your policy or it could affect your
 Hillside,   50%                                   Slab at grade,SOo/o
                                                                                                       eligibility for certain coverages. Please
Attached structures:                                                                                   notify us immediately if you believe
 One 2-car attached garage                         One large wood deck                                 that any information on your Policy
 One large screened porch                                                                              Declarations is incorrect, We will make
lnterior details:                                                                                      corrections once you have notified us,
                                                                                                       and any resulting rate adjustments, will
 One designer     kitchen                          Two custom full baths
                                                                                                       be made only for the current policy
Exterior wall type:                                                                                    period or for future policy periods.
 1OO% brick on frame                                                                                   Please also notify us immediately if you
lnterior wall partition:                                                                               believe any coverages are not listed or
 100% drywall                                                                                          are inaccurately listed.

Heating and cooling:
 Average cost heat & central air
   conditioning, 1OO%
Additional details:
 Vinyl sash with glass, 100%                       lnterior wall height - 8 ft,   10Oo/o
 Two exterior wood doors
                                                   Pool or hot tub - no                                                                                 o
                                                                                                                                                        d
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                                                                                       (continued)                                                      N
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 House & Home Policy Declarations                                                                                                             Page 2 of 3
 Policy number:           831 830 292
 Policy effective date:  )uly 4,2022



lnsured property details" (continued)
Fire protection details:
                                                  'I
 Fire department subscription - no                     mile to fire department
Roof surface material type:
 Composition
 . lOOo/o architectural shingles

 Roof details:
iPredominant roof type: Composition              Age of roof - 2 years
iRoof geometry - Gable

Mortgagee - None
Additional lnterested Party - None
-Th,s is a partiol list of property detoils. lf the interior of your property includes custom
construction, finishes, buildup, speciolties or systems, pleose contoct your Allstate
representative for a complete description of odditional property detoils.


Coverage detail              for the property insured
Coveroge                                       Limits of Liobility                              A p p I ic ob I e D   e   du   ctib I e(s)
Dwelling Protection                            $377,467                                         .   $7,549 Windstorm and Hail
                                                                                                .   $2,500 All other perils
Other Structures Protection                    $37,747                                          .   $7,549 Windstorm and Hail
                                                                                                .   $2,500 All other perils
Personal Property Protection                   $226,481                                         .   $7,549 Windstorm and Hail
                                                                                                .   $2,500 All other perils
Additional Living Expense                      Up to 24 months not to exceed $37,747
Family Liability Protection                    $100,00O each occurrence
Guest Medical Protection                       $1,0O0 each person
Building Codes                                 Not purchased*
Building Structure Reimbursement               2Oo/o above      dwelling protection                                                                               6
Extended Limits                                                                                                                                                   zo
                                                                                                                                                                  r
Roof Surfaces Extended      Coverage           lncluded                                                                                                           Y
                                                                                                                                                                  o
Water Back-Up                                  Not purchased*
)   Other Coveroges Not Purchased:
    . Additional Fire Department                       . Extended Coverage on Musical           . ldentity Theft           Expenses*
      Charges*                                             lnstruments*                         '   lncreased Coverage on Business
    . Building Materials Theft.                        . Extended Coverage on Sports                Property*                                                     o
    . Dwelling in the Course of                                                                 .                                                                 o
                                                                                                                                                                  o
                                                           Equipment*                               lncreased Coverage on Theft of
                                                       .                                                                                                          o
     Construction*                                         Extended Premises*                       Silverware*                                                   N

    . Electronic Data Recovery*                        .   Fair Rental lncome*                  .   Loss Assessments*                                             o
    . Extended Coverage on Cameras*                    .   Golf Cart*                           .   Secondary Residence"                                          o
                                                                                                                                                                  o
    . Extended Coverage on Jewelry,                    .   Green lmprovement*                   '   Select Value*
     Watches and Furs*                                 .   Home Day Care*                       .   Yard and Garden*                                              N
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House & Home Policy Declarations
Policy number:
Policy effective date:
                         831 830 292
                         July 4,2022
                                                                           Page 3 of 3     @lllstate.
* This coveroge con provide you with valuoble protection. To help you stoy current with
  your insuronce needs, contoct your agent to discuss ovoiloble coveroge options and
  other products ond services thot cqn help protect you.



Scheduled Personal Property Coverage
Your policy does not include Scheduled Personol Property Coveroge. This coveroge con provide you with voluoble protection. To
help you stoy current with your insuronce needs, contoct your ogent to discuss ovoiloble coveroge options and other products ond
services thot con help protect you.


Your policy documents
Your House & Home policy consists of the Policy Declarations, any Policy Declarations Addendum, and the following
documents. Please keep them together.
. AVPIC House & Home Policy - AVP1                                '   Roof Surfaces Extended Coverage Endorsement   -
                                                                                                                  AVP42
. Oklahoma Amendatory Endorsement - AVP14-2                       .   Depreciation Amendatory Endorsement - AP4985
.   Building Structure Reimbursement Extended Limits              .   Standard Fire Policy - AVP2
    Endorsement - AVP13
.   Windstorm and Hail Deductible Endorsement - AVP82


lmportant payment and other information
Here is some additional, helpful information related to your coverage and paying your bill:
)    The Property lnsurance Adjustment condition applies using the Marshall Swift Boeckh Publications building cost index.

)    Please note: This is not a request for payment. Any adjustments to your premium will be reflected on your next scheduled
     bill which will be mailed separately.


Allstate Vehicle and Property lnsurance Company's Secretary and President have signed this policy with legal authority at
Northbrook, lllinois. This policy is binding with the countersignature of an authorized Allstate Vehicle and Property lnsurance
Company agent.


    q,il',* Porra**
Julie Parsons
                                                                  4^"*X&---
                                                                  Susan L. Lees
President                                                         Secretary

Policy countersigned by Allstate




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ALLSTATE VEHICLE AND PROPERTY INSURANCE COMPANY



H ouse                           & Home
Po C v
OKLAHOMA                                                                          AVPl

Policy number                                         Policy effective
831 830 292                                           luly 4,2O22


Policyholders                                         You may contact us at
Clover Meredith                                       1-SOO.ALtSTATE
82O 3rd St                                            or visit us at
Healdton OK73438-1664                                 www.allstate.com




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Allstate Vehicle and Property lnsurance Company                                                    o
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                                                                                               ON
The Company Named in the Policy Declarations                                                   9N
A Stock Company-Home Office:2775Sanders Road, Northbrook, lllinois 60062                     -gR
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House & Home Policy                                                                                                                                   Page3 ol 22
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Policy effective date:                 July   4,2022


Agreements We Make With You                                                              Under Family Liability Protection-Coverage X and Guest Medical

We make the following agreements with you:                                               Protestion-Coverage Y, "insured pelson" also means:
                                                                                         a)   any person or organization legally responsible for loss caused by
General                                                                                       animals or watercraft covered by this policy which are owned by an
                                                                                              insured person. We do not cover any person or organization using
Definitions Used ln This Policy                                                               or having custody of animals or watercraft in any business, or
Throughout this policy, when the following words appear in bold type, they                    without permission of the owner.
are defined as follows:                                                                  b)   with respect to the    use of any vehicle covered by this policy, any

1.   Bodily injury-means physical harm to the body, including sickness or                     person while engaged in the employment of an insured person.
     disease, and resulting death, except that bodily injury does not include:
     a)                                                                            6.    lnsuredpremises-means:

     b)
           any venereal disease;
                                                                                         a)   the residence premises; and

     c)
           herpes;
           Acquired lmmune Deficiency Syndrome (AIDS);
                                                                                         b)   under Section   ll   only:

     d)    AIDS Related Complex (ARC);
                                                                                              1)    the part of any other premises, other structures and grounds
                                                                                                    used by you as a residence, This includes premises, structures
     e)    Human lmmunodeficiency Virus (HlV);
                                                                                                    and grounds you acquire for your use as a private residence
     or any resulting symptom, effect, condition, disease or illness related to                     while this policy is in effect;
     a) through e) listed above.                                                              2)    any part of a premises not owned by an insured person but
                                                                                                    where an insured person is temporarily living;
     ln addition, bodily injury does not include any symptom, effect,
                                                                                              3)    cemetery plots or burial vaults owned by an insured person;
     condition, disease or illness resulting in any manner from:
     a)    lead in any form;
                                                                                              4)    land owned by or rented to an insured person where a
                                                                                                    single{amily dwelling is being built    as that person's
     b)    asbestos in any form;
                                                                                                    residence;
     c)    radon in anyform; or
                                                                                              5)    any premises used by an insured person in connection with
     d)    oil, fuel oil, kerosene, liquid propane or gasoline intended for, or
                                                                                                    the residence premises; and
           from, a storage tank located at the residence premises.
                                                                                              6)    any part of a premises occasionally rented to an insured
2.   Building structure-means         a structure with walls and a roof.                            person for other than business purposes.

3.   Business-means:                                                               7.    Occurrence-means        an accident, including continuous or repeated

     a)    any full- or part-time activity of any kind engaged in for economic           exposure to substantially the same general harmful conditions during the
           gain including the use of any part of any premises for such                   policy period, resulting in bodily injury or property damage.
           purposes. The providing of home day care services to other than an
           insured person or relative of an insured person for economic
                                                                                   8.    Property damage-means physical injury to or destruction of tangible
                                                                                         property. including loss of its use resulting from such physical inlury or
           gain is also a business.
                                                                                         destruction.
           However, the mutual exchange of home day care services is not
           considered a business;
                                                                                   9.    Residence employee-means an employee of an insured person while
                                                                                         performing duties arising out of and in the course of employment in
     b)    the rental or holding for rental of property by an insured person.            connection with the maintenance or use of your residence premises.
           Rental of your residence premises is not considered a business                This includes similar duties performed elsewhere for an insured person,
           when:                                                                         not in connection with the business of an insured person.
           1)      it is rented occasionally for residential purposes;
                                                                                   10.   Residence premises-means the dwelling, other structures and land
           2)    a portion is rented   to roomers or boarders, provided not more
                                                                                         located at the address stated on the Policy Declarations.
                 than two roomers or boarders reside on the residence
                 premises at any one time; or                                      11.   Roof surface-means that portion of a roof of a building strudure or                     o
           3)    a portion is rented as a private garage.                                other structure covered under Dwelling Protection-Coverage A or                         o
                                                                                                                                                                                 $
                                                                                         0ther Structures Protection-Covetage B exposed to weather, such              as         o
4.   Dwelling-means the single{amily building structure, identified as the
                                                                                         shakes, shingles. tiles, panels, flashing and caps.
                                                                                                                                                                                 o
                                                                                                                                                                                 n
     insured property on the Policy Declarations, where you reside and which
                                                                                                                                                                                 o
      is principally used as a private residence.                                  12.   We, us, or our-means the company named on the Policy Declarations.
                                                                                                                                                                                 N
5.   lnsured person(s)-means you and, if         a resident   ofyour household:    13.   You or your-means the person listed under Named lnsured(s) on the
                                                                                                                                                                               o
                                                                                                                                                                                 R
                                                                                                                                                                                 N
     a)    any relative; and                                                             Policy Declarations as the insured and that person's resident spouse.
                                                                                                                                                                               o
                                                                                                                                                                               I
     b)    any person under the age of 21 in your care.                                                                                                                        r
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House & Home Policy
Policy number:
Policy effective date:
                                     831 830 292
                                     luly 4,2022
                                                                                          Page   4 of 22          @,4llstate.
lnsuring Agreement                                                                   Cancellation
ln reliance on the information you have given us, we agree to provide the            Your Right to Cancel:
coverages indicated on the Policy Declarations. ln return, you must pay the          You may cancel this policy by notifying us of the future date you wish to stop
premium when due and comply with the policy terms and conditions, and                covera8e.
inform us of any change in title, use or occupancy of the residence premises.
                                                                                     Our Right to    Cancel:
Subject to the terms of this policy, the Policy Declarations shows the location      We may cancel this policy by mailing notice to you at the mailing address
of the residence premises, applicable coverages, limits of liability and             shown on the Policy Declarations. When this policy has been in effect for less
premiums. The policy applies only to losses or occurrences that take place           than 60 days, and it is not a renewal with us, we may cancel this policy for any
during the policy period. The Policy Period is shown on the Policy                   reason by giving you at least 10 days notice before the cancellation takes
Declarations. This policy is not complete without the Policy Declarations.           effect.
This policy imposes joint obligations on the Named lnsured(s) listed on the          When the policy has been in effect for 60 days or more, or if it is a renewal
Policy Declarations and on that person's resident spouse. These persons are          with us, we may cancel this policy for one or more of the following reasons:
defined as you or your. This means that the responsibilities, acts and               1.    nonpayment of premium;
omissions of a person defined as you or your will be binding upon any other
person defined as you or your.
                                                                                     2.    the policy was obtained by misrepresentation, fraud or concealment of
                                                                                           material facts;
This policy imposes loint obligations on persons defined as an insured
person. This means that the responsibilities, acts and failures to act of a          3.    material misrepresentation, fraud or concealment of material facts in
person defined as an insured petson will be binding upon another person                    presenting a claim, or violation of any of the policy terms; or

defined as an insured person.                                                        4.    there has been a substantial change or increase in hazard in the risk we
Conformity To State Statutes                                                               originally accepted.

When the policy provisions conflict with the statutes of the state in which the      lf the cancellation is for nonpayment of premium, we will give you at least 10
residence premises is located, the provisions are amended to conform to              days notice. lf the cancellation is for any of the other reasons, we will give you
such statutes.                                                                       at least 30 days notice.

Coverage Changes                                                                     Our mailing the notice of cancellation to you will be deemed proof of notice.
When we broaden coverage during the policy period without charge, you                Coverage under this policy will terminate on the effective date and hour
have the new features if you have the coverage to which they apply.                  stated on the cancellation notice. Your return premium, if any, will be
0therwise, the policy can be changed only by endorsement.                            calculated on a pro rata basis and refunded at the time of cancellation or as
                                                                                     soon as possible. However, refund of unearned premium is not a condition of
The coverage provided and the premium for the policy are based on
                                                                                     cancellation.
information you have given us. You agree to cooperate with us in
determining if this information is conect and complete. You agree that if this       Our Right Not to Renew or Continue:
information changes, or if this information is incorrect or incomplete, we may       We have the right not to renew or continue the policy beyond the cunent
adjust your coverage and premium accordingly during the policy period.               policy period. lf we do not intend to continue or renew the policy, we will mail
                                                                                     you notice at least 30 days before the end of the policy period. Our mailing
Any calculation of your premium or changes in your coverage will be made
using the rules, rates and forms on file, if required, for our use in your state.
                                                                                     the notice of nonrenewal to you will be deemed proof of notice.

The rates in effect at the beginning of your current policy period will be used      Misrepresentation, Fraud Or Concealment
to calculate any change in your premium.                                             We may void this policy if it was obtained by misrepresentation, fraud or
                                                                                     concealment of material facts. lf we determine that this policy is void, all
Policy Transfer
                                                                                     premiums paid will be returned to you since there has been no coverage
You may not transfer this policy to another person without our written
                                                                                     under this policy.
consent.
                                                                                     We do not cover any loss or occurrence in which any insured petson        has
Continued Coverage After Your Death                                                  concealed or misrepresented any material fact or circumstance.
lf you die, coverage will continue until the end of the current policy period for:
1.   your legal representative while acting    as such, but only   with respect to   What law WillApply
     the residence premises and property covered under this policy on the            This policy is issued in accordance with the laws of the state in which the
      date of your death.                                                            residence premises is located and covers property or risks principally located
                                                                                     in that state. Subject to the following paragraph, the laws of the state in which
2.   an insured person, and any person having proper temporary custody of
                                                                                     the residence premises is located shall govern any and all claims or disputes
     your property until    a legal representative is appointed and qualified.
                                                                                     in any way related to this policy.




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lf a covered loss to property, or any other occurrence for which coverage
                                                                                         Section      l-Your Property
applies under this policy, happens outside the state in which the residence
premises is located, claims or disputes regarding that covered loss to
                                                                                         Dwelling Protection-Coverage A
property, or other covered occurrence, may be governed by the laws of the
jurisdiction in which that covered loss to property or other covered
                                                                                         Property We Cover Under Coverage A:
occurrence happened, only if the laws of that jurisdiction would apply in the            1.   Your dwelling, including attached structures, Structures connected to
absence of a contractual choice of law provision such as this.                                your dwelling by only a fence, utility line, or similar connection are not
                                                                                              considered attached structures.
Where Lawsuits May Be Brought
Subject to the following two paragraphs, any and all lawsuits in any way                 2.   Construction materials and supplies at the residence premises for use
related to this policy, shall be brought, heard and decided only in a state or                in connection with your dwelling.
federal court located in the state in which the residence premises is located.
Any and all lawsuits against persons not parties to this policy but involved in
                                                                                         3.   Wall-to-wall carpeting fastened to your dwelling.

the sale, administration, performance, or alleged breach of this policy, or              Property We Do Not Cover Under Coverage Ar
otherwise related to this policy, shall be brought, heard and decided only in        a
                                                                                         1.   Any structure, including fences, or other property covered under (Xher
state or federal court located in the state in which the residence premises is                Structures Protection-Coverage         B.
located, provided that such persons are subject to or consent to suit in the
courts specified in this paragraph.                                                      2.   Land.


lf a covered loss to property, or any other occurrence for which coverage                3.   Satellite dish antennas and their systems, whether or not attached to
applies under this policy, happens outside the state in which the residence
                                                                                              your dwelling.
premises is located, lawsuits regarding that covered loss to property, or other
covered occurrence, may also be brought in the judicial district where that
                                                                                         Other Structures Protection-Coverage B
covered loss to property or other covered   occurence happened.                          Property We Cover Under Coverage B:
Nothing in this provision, Where Lawsuits May Be Brought, shall impair any               1.   Structures at the address shown on the Policy Declarations separated
party's right to remove a state court lawsuii to   a   federal court.                         from your dwelling by clear space.

Action Against Us                                                                        2.   Structures at the address shown on the Policy Declarations connected to
                                                                                              your dwelling by only   a fence,   utility line, or similar connection.
No one may bring an action against us unless there has been        full compliance
with all policy terms.                                                                   3.   Construction materials and supplies at the residence premises for use
                                                                                              in connection with structures other than your dwelling.
Any action against us to which neither the Action Against Us provision
located in Section I Conditions nor the Action Against Us provision located              4.   Wall-to-wall carpeting fastened to building structures, other than your
in Section   ll Conditions applies must be commenced within         one year of the           dwelling, at the address shown on the Policy Declarations.
date the cause of action accrues.
                                                                                         Property We Do Not Cover Under Coverage B:
lf an action is brought asserting claims relating to the existence or amount of
                                                                                         1.   Structures used in whole or in part for business purposes.
coverage, or the amount of loss for which coverage is sought, under different
coveraSes of this policy, the claims relating to each coverage shall be treated          2.   Any structure or other property covered under Dwelling          Protection-
as if they were separate actions for the purpose of the time limit to commence                Coverage A.
action.
                                                                                         3.   Land.

Arbitration                                                                              4.   Construction materials and supplies at the residence premises for use
Any claim or dispute in any way related to this policy, by an insured person                  in connection with the dwelling.
                                                                                                                                                                                    o
against us or us against an insured person, may be resolved by arbitration
only upon mutual consent of the parties. Arbitration pursuant to this provision
                                                                                         5.   Satellite dish antennas and their systems, whether or not attached to
                                                                                                                                                                                    o
                                                                                              building structures.                                                                  o
shall be subject to the following:                                                                                                                                                  o
l.    no arbitrator shall have the authority to award punitive damages or
                                                                                         losses We Cover Under Coverages A and B:
                                                                                                                                                                                    n
                                                                                                                                                                                    o
      attorney's fees;                                                                                                                                                              o
                                                                                                                                                                                    o
                                                                                         We will cover sudden and accidental direct physical loss to property
2.    neither of the parties shall be entitled to arbitrate any claims or disputes       described in Dwelling Protection-Coverage A and           0ther Structures                 N
                                                                                                                                                                                    R
                                                                                                                                                                                    N
      in a representative capacity or as a member of a class; and                        Protection-Coverage B except     as limited or excluded in this policy.                    o
                                                                                                                                                                                    o
                                                                                                                                                                                    o
3.    no arbitrator shall have the authority, without the mutual conseni of the                                                                                                     0
                                                                                                                                                                                    F
      parties, to consolidate claims or disputes in arbitration.
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Losses We Do Not Cover Under Coverages A and B:                                       7.    Nuclear hazard, meaning nuclear reaction, discharge. radiation or

A.  Under Dwelling Protection-Coverage A and 0ther Structures                               radioactive contamination, or any consequence of any of these.
     Protection-Coverage          B of this policy, we do not cover any loss which          Loss which consists of, is caused by, or would not have occurred

     consists   ol   is caused by, or would not have occuned but for, one or                but for, the nuclear hazard is not considered loss by fire, explosion
     more of the following excluded events, perils or conditions. Such loss is              or smoke.

     excluded regardless of: a) the cause or source of the excluded event,            8. a)       War, whether declared or undeclared;
     peril or condition; b) any other causes contributing concurrently or in             b)       warlike acts;
     any sequence with the excluded event, peril or condition to produce the             c)       invasion;

     loss; or c) whether the excluded event, peril or condition involves                 d)       insurrection;
     isolated or widespread damage, arises from natural, man-made or other               e)       rebellion;

     forces, or arises as a result of any combination of these forces.                   f)       revolution;
     L    Flood, including, but not limited to, surface water, waves, tidal              g)       civil war;
          water or overflow of any body of water, or spray from any of these,            h)       usurped power;

          whether or not driven by wind.                                                 i)       destruction for a military purpose; or
     2.   Water or any other substance that backs up through sewers or                   i)       action taken by civil, governmental or military authority to
          drains.                                                                                 hinder or defend against an actual or impending enemy act.

     3.   Water or any other substance that overflows from a sump pump,                9.   Soil conditions, including, but not limited to, corrosive action,
          sump pump well or other system designed for the removal of                        chemicals, compounds, elements, suspensions, crystal formations
          subsurface water which is drained from a foundation area of a                     or gels in the soil.
          structure.                                                                  10.   Vapors, fumes, smoke, smog, soot, alkalis, acids, toxic chemicals,
     4.   Water or any other substance on or below the surface of the                       toxic gasses, toxic liquids, toxic solids, waste materials, or other
          ground. This includes water or any other substance which exerts
                                                                                            initants, contaminants or pollutants.
          pressure on, or flows, seeps or leaks through any part of the
          residence premises.                                                               However, we will not apply this exclusion to sudden and accidental
                                                                                            direct physical loss which consists of, is caused by, or would not
          We do cover sudden and accidental direct physical loss caused by                  have occurred but for:
          fire or explosion resulting from items       1   through 4 listed above.          a)    a fire or an explosion at   your residence premises;
     5,   Earth movement of any type, including, but not limited to,                        b)    smoke or soot resulting from food preparation at      your
          earthquake, volcanic eruption, lava flow, landslide, subsidence,                        residence premises;
          mudflow, pressure, sinkhole, erosion, or the sinking, rising, shifting,           c)    the malfunction of a heating or air conditioning system or a
          creeping, expanding, bulging, cracking, settling or contracting of                      household appliance at your residence premises;

          the earth. This exclusion applies whether or not the earth                        d)    smoke, soot or fumes originating away from your residence

          movement is combined with water.                                                        premises, provided the smoke, soot or fumes:
                                                                                                  l)    were not from industrial, governmental or military
          We do cover sudden and accidental direct physical loss caused by                              operations, agricultural smudging, or the manufacturing
          fire or explosion resulting from earth movement.                                              of any controlled substance; and
     6.   Actions taken by civil, governmental or military authorities:                           2)    did not result from nuclear hazard, meaning nuclear
          a)         to enforce any building codes, ordinances or laws regulating                       reaction, discharge, radiation or radioactive

                     or requiring the construction, reconstruction, maintenance,                        contamination, or any consequence of any of these;
                     replacement, repair, placement or demolition of any building           e)    spray, overspray, spatter, or spillage, by a person located on

                     structure, other structure or land at the residence                          the ground at the residence premises or in or upon      a

                     premises; or                                                                 structure we cover at the residence premises, of lawfully
           b)        requesting, demanding or ordering that an insured person                     possessed, commercially available supplies manufactured or
                                                                                                  produced for use in food preparation, personal hygiene, or for
                     test for, monitor, clean up, remove, contain, treat, detoxify,
                     decontaminate, or neutralize, or in any way respond to or                    cleaning or maintaining a residential property or personal

                     assess the effecis of, any loss or potential loss at the
                                                                                                  property;

                     residence premises.                                                    f)    spray, overspray, spatter or spillage of lawfully possessed,
                                                                                                  commercially available supplies by a person performing
           However, we will cover sudden and accidental direct physical loss                      cleaning or other maintenance services at a premises located
           caused by actions of civil, governmental or military authority to                      within 500 feet of the residence premises;
           prevent the spread of fire.




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           g)     spillage or release at your residence premises of gas or oil,                     b)    it cannot be traveled due to actions by others, including, but
                   in any form, used to prepare foods at your residence                                   not limited to, civil, governmental or military authorities
                  premises, or to heat the dwelling or other building                                    which prohibit or restrict travel using that means of ingress or
                  structures at your residence premises, when such spillage                              egress.
                  or release results in a fire or an explosion at your residence
                                                                                              13.   Seizure, confiscation or quarantine by civil, governmental or
                  premises; or
                                                                                                    military authority.
           h)     fuel, oil or other fluids necessary to operate a motorized land
                  vehicle if, at the time of the loss, such fuel, oil or other fluids               We will cover sudden and accidental direct physical loss caused by
                  are being used solely for the purpose of operating a                              actions of civil, governmental or military authority to prevent the
                   motorized land vehicle and the loss results from a collision, at                 spread of fire.
                  the residence premises, of the motorized land vehicle with
                                                                                              14.   The manufacturing of any controlled substance.
                   property we cover under Dwelling Protection-Coverage A
                                                                                              15.   Weather conditions that contribute in any way with an event, peril
                  or (Xher Structures Protection-Coverage B.
                                                                                                    or condition excluded under losses We Do         llot Cover Under
    '11.   Lack of   utility services at the residence premises, meaning loss or                    Coverages A and B to produce a loss.
           intenuption of, lack or loss of   access to, or unavailability of, one or
           more utility services for the residence premises, including, but
                                                                                         B. Under Dwelling Protection-Coverage             A and (Xher Structures
                                                                                              Protection-Coverage         B of this policy, we do not cover any loss
           not limited to, electric, natural gas or other fuels, water, sanitation,
                                                                                              consisting of or caused by mold, fungus, wet rot, dry rot or bacteria. This
           sewer, cable or communication services, unless the lack of utility
                                                                                              includes any loss which, in whole or in part, arises out of, is aggravated
           services results solely from a sudden and accidental direct physical
                                                                                              by or results from mold, fungus, wet rot, dry rot or bacteria.
           loss   to property located at the residence premises caused by         an
           event, peril or condition not excluded by this policy.                             This exclusion applies regardless of whether mold, fungus, wet rot, dry
                                                                                              rot or bacteria arises from any other cause of loss, including, but not
           When the lack of utility services results in freezing of:
                                                                                              limited to, a loss involving water, water damage or discharge, which may
           a)      plumbing, automatic fire protective sprinkler systems, heating
                                                                                              otherwise be covered by this policy, except as specifically provided in
                   or air conditioning systems;
                                                                                              Section I Conditions, Mold, Fungus, Wet Rot And Dry Rot
           b)      household appliances; or
                                                                                              Remediation As A Direct Result (X A Covered Water [oss.
           c)      swimming pools, hot tubs or spas located within a heated
                   portion of the dwelling, or their filtration and circulation          C.   When loss is not excluded under paragraph A or paragraph         B   of Losses
                   systems located within a heated portion of the dwelling;                   We Do Not Cover Under Coverages A and              B, and there are two or
                                                                                              more causes of loss to the covered property, we do not cover the loss if
           or when the lack of utility services results in discharge, leakage or
                                                                                              the predominant cause(s) of loss is (are) excluded under paragraph D,
           overflow from within a), b) or c) above caused by freezing, we do
                                                                                              immediately below.
           cover sudden and accidental direct physical loss caused by the
           freezing ifyou used reasonable care to maintain heat in the                   D.   Under Dwelling Protection-Coverage A and (Xher Structures
           building structure. lf the building structure       is not equipped    with        Protection-Coverage B of this policy, we do not cover any loss
           an automatic fire protective sprinkler system,      you may elect to               consisting of or caused by one or more of the following excluded events,
           shut off the water supply and drain ihe water from the systems,                    perils or conditions. Such loss is excluded regardless of whether the
           appliances, swimming pools, hot tubs, spas and their filtration and                excluded event, peril or condition involves isolated or widespread
           circulation systems instead of maintaining heat in the building                    damage, arises from natural, man-made or other forces, or arises as a
           structure.                                                                         result of any combination of these forces.

    12.    lnability of an insured person to use, access or remain at the
                                                                                              L     The failure by any insured person to take all reasonable steps to
                                                                                                    save and preserve property when the property is endangered by a
           residence premises due to an actual, impending or expected lack,                                                                                                          o
                                                                                                    cause of loss we cover.
           impassability or unavailability of any reasonable means of ingress                                                                                                        o
           to or egress from the residence premises, including, but not
                                                                                              2.    Any substantial change or increase in hazard, if changed or
                                                                                                                                                                                     o
                                                                                                    increased by any means within the control or knowledge of an                     I
           limited to, roads, highways, causeways, sidewalks, paths, rails,                                                                                                          o
                                                                                                                                                                                     o
                                                                                                    insured person.
           bridges, tunnels or waterways.
                                                                                              3.    lntentional or criminal acts of or at the direction of any insured               o
                                                                                                                                                                                     o
           For purposes of this exclusion, a pariicular means of ingress or                         person, if the loss that occurs:                                                 o
           egress will be considered impassable or unavailable if:                                  a)    may be reasonably expected to result from such acts; or                    N
                                                                                                                                                                                     R
           a)      it cannot be safely traveled due to physical damage or                           b)    is the intended result of such acts.                                      oN


                   destruction of that means of ingress or egress; or                                                                                                               o
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         This exclusion applies regardless of whether the insured person is            B.    Seepage, meaning continuous or repeated seepage or leakage over
         actually charged with, or convicted of, a crime.                                    a period of weeks, months, or years, of water, steam or fuel:

    4.   Collapse, except as specifically provided in Section I   Additional
                                                                                             a)    from a plumbing, heating, air conditioning or automatic fire
                                                                                                   protective sprinkler system or from within a domestic
         Protection under item   10, "Collapse".
                                                                                                   appliance; or
    5. a)     Wear and tear, aging, marring, scratching, deterioration,
                                                                                             b)    from, within or around any plumbing fixtures, including, but
              inherent vice, or latent defect;
                                                                                                   not limited to, shower stalls, shower baths, tub installations,
         b)   mechanicalbreakdown;
                                                                                                   sinks or other fixtures designed for the use of water or steam.
         c)   growth of trees, shrubs, plants or lawns, regardless of
              whether such growth is above or below the surface of the                 9.    Theft from your residence premises while your dwelling is under
              ground;                                                                        construction, or of materials and supplies for use in construction,
         d)   rust or other corrosion;                                                       until your dwelling is completed and occupied.
         e)   settling, cracking, shrinking, bulging or expansion of                   10.   Vandalism or malicious mischief if your dwelling is vacant or
              pavements, patios, foundations, walls, floors, roofs or ceilings;              unoccupied for more than 30 consecutive days immediately prior
              0r                                                                             to the vandalism or malicious mischief. A dwelling under
         0    insects, rodents, birds or domestic animals. We do cover the                   construction is not considered vacant or unoccupied.
              breakage of glass or safety glazing materials caused by birds.           11.   Planning, Construction or Maintenance, meaning faulty, inadequate
                                                                                             or defective:
         lf any of a) through f) cause the sudden and accidental escape of
         water or steam from a plumbing, heating or air conditioning
                                                                                             a)    planning, zoning, development, surveying, siting;

         system, a household appliance or an automatic fire protective
                                                                                             b)    design,specifications, workmanship, repair,construction,
                                                                                                   renovation, remodeling, grading, compaction;
         sprinkler system within your dwelling, we cover the direct
         physical damage caused by the water or steam.
                                                                                             c)    materials used in repair, construction, renovation or
                                                                                                   remodeling; or
         lf loss to covered property   is caused by water or steam not                       d)    maintenance;
         otherwise excluded, we will cover the cost of tearing out and
                                                                                             of property whether on or off the residence premises by any
         replacing any part of your dwelling necessary to repair the system
                                                                                             person or organization.
         or appliance. This does not include damage to the defective system
         or appliance from which the water or steam escaped.
                                                                                  Personal Property Protection-Coverage                           C
    6.   Freezing of:
                                                                                  Property We Cover Under Coverage                 C:
         a)   plumbing, automatic fire protective sprinkler systems, heating
                                                                                  1.   Personal property owned or used by an insured person anywhere in the
              or air conditioning systems;
                                                                                       world. When personal property is located away from the residence
         b)   household appliances; or
                                                                                       premises, coverage is limited to 10% of Personal Property
         c)   swimming pools, hot tubs or spas located within a heaied
                                                                                       Protection-Coverage      C.
              portion of the dwelling, or their filtration and circulation
              systems located within a heated portion of the dwelling;            2.   At your option, personal property owned by a guest or residence
                                                                                       employee while the property     is in a residence you are occupying.
         or discharge, leakage or overflow from within a), b) or c) above,
         caused by freezing, while the building    structure   is vacant,         limitations     On Certain Personal Property:
         unoccupied or being constructed, unless you have used reasonable         Limitations apply to the following groups of personal property. lf personal
         care to maintain heat in the building structure. lf the building         property can reasonably be considered a part of two or more of the groups
         structure   is not equipped with an automatic fire protective
                                                                                  lisied below, the lowest limit will apply. These limitations do not increase the
         sprinkler system, you may elect to shut off the water supply and         amount of insurance under Personal Property Protection-Coverage C. The
         drain the water from the systems, appliances, swimming pools, hot        total amount of coverage for each group in any one loss is as follows:
         tubs, spas and their filtration and circulation systems instead of       1. $        200   -   Property used or intended for use in a business while
         maintaining heat in the building sttucture.                                                    the property is away from the residence premises. This
    7.   Freezing, thawing, pressure or weight of water, snow or ice,                                   does not include electronic data processing equipment

         whether or not driven by wind. This exclusion applies to fences,                               or the recording or storage media used with that

         pavements, patios, foundations, retaining walls, bulkheads, piers,                             equipment.
         wharves and docks. This exclusion also applies to swimming pools,        2. $        500   -   Theftofanyrecordingorstoragemediawhilesuch
         hot tubs, spas, and their filtration and circulation systems, which                            property is away from the residence premises,
         are not located within a heated portion of the dwelling.                                       whether or not it is used with electronic data processing



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                        equipmeni or in a business. Recording or storage media       3.    Motorized land vehicles, including, but not limited to, any land vehicle
                        includes, but is not limited to:                                   powered or assisted by a motor or engine. We do not cover any
                        a)    tapes;                                                       motorized land vehicle parts, equipment or accessories attached to or
                        b)    CDs, DVDs and other discs;                                   located in or upon any motorized land vehicle. We do cover motorized
                        c)    records;                                                     land vehicles designed for assisting the disabled, or used solely for the
                        d)    disks;                                                       service of the insured premises, and not licensed for use on public
                        e)    reels;                                                       roads.
                        f)    cassettes;
                                                                                     4.    Aircraft and aircraft parts. This does not include model or hobby craft
                        g)    cartridges; or
                                                                                           not designed to carry people or cargo.
                        h)    programs.

3. $                                                                                 5.    Property of roomers, boarders or tenants not related to you.
           1,000    -   Property used or intended for use in a business,
                        including property held as samples or for sale or delivery   6.    Property located away from the residence premises and rented or held
                        after sale, while the property is on the residence                 for rental to others.
                        premises. This does not include electronic data
                        processing equipment or the recording or storage media
                                                                                     7.    Satellite dish antennas and their systems.

                        used with that equipment.                                    8.    Money, bullion, bank notes, coins and other numismatic property, scrip,
                                                                                           stored value cards, and smart cards.
4. $       1,000    -   Tradingcards,subjecttoamaximumamountof$250
                        per card.                                                    9.    Accounts, bills, deeds, evidences of debt, letters of credit, notes other
                                                                                           than bank notes, checks, cashier's checks, traveler's checks, passports,
5. $       1,000    -   Watercraft, including their attached or unattached
                                                                                           securities, tickets, and stamps, including philatelic property.
                        trailers, furnishings, equipment, parts, and motors.
                                                                                     10.   Manuscripts, including documents stored on electronic media.
6. $       ],000 -      Trailers not used with watercraft.
                                                                                     Losses We Cover Under Coverage C:
7. $       1,500 -      Motorizedlandvehicleparts,equipmentoraccessories
                                                                                     We will cover sudden and accidental direct physical loss to the property
                        not attached to or located in or upon any motorized land
                                                                                     described in Personal Property Protection-Coverage C caused by the
                        vehicle.
                                                                                     following, except as limited or excluded in this policy:
8. $      Z,OOO     -   Theftoffirearms,theirrelatedequipment,and                    1.    Fire or lightning.
                        accessories.
                                                                                     2.    Windstorm or hail.
9. $       2,500    -   Theft of goldware, silverware, pewterware and
                        platinumware.                                                      We do not cover:
                                                                                           a)    loss to covered property inside a building structure, caused by
10.   $   5,000     -   Theftofjewelry,watches,preciousandsemi-precious                          rain, snow, sleet, sand or dust unless the wind or hail first damages
                        stones, gold other than goldware, silver other than                      the roof or walls and the wind forces rain, snow, sleet, sand or dust
                        silverware, pewter other than pewterware, platinum                       through the damaged roof or wall;
                        other than platinumware, and furs, including any item              b)    loss to watercraft and their trailers, furnishings, equipment and
                        containing fur which represents its principal value,                     motors unless inside   a   fully enclosed building structure. However,
                        subject to a maximum amount of $1,000 per item.                          we do cover canoes and rowboats on the residence premises.
          'l0,000
11. $            -      Theftoftoolsandtheiraccessories.                             3.    Explosion.

12. $     10,000 -      Motorized land vehicles used solely for the service of       4.    Riot or civil commotion, including pillage and looting during, and at the
                        the insured premises and not licensed for use on public            site of, the riot or civil commotion.                                                 o
                                                                                                                                                                                 o
                        roads. This does not include motorized land vehicles                                                                                                     o
                        designed for assisting the disabled and not licensed for
                                                                                     5.    Aircraft, including self-propelled missiles and spacecraft.                           o
                                                                                                                                                                                 N
                        use on public roads.                                         6.    Vehicles.                                                                             o

Property We Do Not Cover Under Coverage                      C:                      7.    Smoke.                                                                                o
                                                                                                                                                                                 o
                                                                                                                                                                                 o
1.    Personal property specifically described and insured by this or any other
                                                                                     8.    Vandalism and malicious mischief                                                      N
      insurance.                                                                                                                                                                 R
                                                                                                                                                                                 N
                                                                                                                                                                                 o
                                                                                                                                                                                 o
2.    Animals.                                                                                                                                                                 o
                                                                                                                                                                               I
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      We do not cover vandalism or malicious mischief if your dwelling has                            c)   theft of any property while at any other residence owned, rented to
      been vacant or unoccupied for more than 30 consecutive days                                          or occupied by an insured person unless the insured person is
      immediately prior to the vandalism or malicious mischief, A dwelling                                 temporarily residing there;
      under construction is not considered vacant or unoccupied.                                      d)   theft of trailers, campers, watercraft, including furnishings,
                                                                                                           equipment and outboard motors, away from the residence
9.    Falling objects.
                                                                                                           premises; or
      We do not cover loss to personal property inside             a   building structure             e)   theft from that part of the residence premises rented by you to
      unless the falling object first damages the exterior walls or roof of the                            other than an insured person.
      building structure.
                                                                                                16.   Breakage of glass, meaning damage to covered personal property caused
10.   Weight of ice, snow or sleet which causes damage to personal property                           by breakage of glass constituting a part of any building structure on
      in a building structure, but only if the building structure is damaged                          the residence premises. This does not include damage to the glass.
      due to the weight of ice, snow or sleet.
                                                                                                Losses We Do Not Cover Under Coverage C:
11.   Artificially generated electrical cunent to electronics, electrical                       A.    Under Personal Property Protection-Coverage C of ihis policy, we do
      appliances, fixtures and wiring.                                                                not cover any loss which consists of, is caused by, or would not have
                                                                                                      occuned but for, one or more of the following excluded events, perils or
12.   Bulging, burning, cracking or rupiure of a steam or hot water heating
                                                                                                      conditions. Such loss is excluded regardless of: a) the cause or source of
      system, an air conditioning system, an automatic fire protective sprinkler
                                                                                                      the excluded event, peril or condition; b) any other causes contributing
      system or an appliance for heating water.
                                                                                                      concunently or in any sequence with the excluded event, peril or
13.   Water or steam that escapes from a plumbing, heating or air                                     condition to produce the loss; or c) whether the excluded event, peril or
      conditioning system, an automatic fire protective sprinkler system, or                          condition involves isolated or widespread damage, arises from natural,
      from a household appliance due to accidental discharge or overflow.                             man-made or other forces, or arises as a result of any combination of
                                                                                                      these forces.
      We do not cover loss to the system or appliance from which the water or
      steam escapes, or loss from water which backs up through sewers or
                                                                                                      l.   Flood, including, but not limited to, surface water, waves, tidal
                                                                                                           water or overflow of any body of water, or spray from any of these,
      drains or overflows from a sump pump, sump pump well or other system
                                                                                                           whether or not driven by wind.
      designed for the removal of subsurface water which is drained from a
      foundation area of a structure.
                                                                                                      2.   Water or any other substance that backs up through sewers or
                                                                                                           drains.
14.   Freezing of a plumbing, heating or air conditioning system, an automatic                        3.   Water or any other substance that overflows from a sump pump,
      fire protective sprinkler system or a household appliance.                                           sump pump well or other system designed for the removal of
                                                                                                           subsurface water which is drained from a foundation area of a
      We do not cover loss at the residence premises under items                  12, 13, and

                                                                                building                   structure.
      14, immediately above, which is caused by freezing while the
      structure   is vacant, unoccupied or under construction, or when freezing
                                                                                                      4.   Water or any other substance on or below the surface of the
                                                                                                           ground. This includes water or any other substance which exerts
      results from a lack of utility services at the residence premises to which
                                                                                                            pressure on, or flows, seeps or leaks through any part of the
      item A.10 in losses We Do Not Cover Undet Coverage                     C applies,
                                                                                                            residence premises.
      unless you have used reasonable care to maintain heat in the building
      structure. lf the building structute is not equipped with an automatic                               We do cover sudden and accidental direct physical loss caused by
      fire protective sprinkler system, you may elect to shut off the water                                 fire or explosion resulting from items   1   through 4 listed above.
      supply and drain the water from the systems and appliances instead of
      maintaining heat in the building structure.
                                                                                                      5.    Earth movement of any type, including, but not limited to,
                                                                                                            earthquake, volcanic eruption, lava flow, landslide, subsidence,
15.   Theft, or attempted theft, including disappearance of property from a                                 mudflow. pressure, sinkhole, erosion, or the sinking, rising, shifting,
      known place when      it is likely that   a   theft   has occuned. Any   theft must be                creeping, expanding, bulging, cracking, settling or contracting of
      promptly reported to the police.                                                                      the earth. This exclusion applies whether or not the earth
                                                                                                            movement is combined with water.
      We do not cover:
      a)    theft or attempted theft committed by an insured person;                                        We do cover sudden and accidental direct physical loss caused by
      b)    theft in or from the residence premises while under construction                                fire or explosion resulting from earth movement.
            or of materials and supplies for use in construction, until the
            dwelling     is completed and occupied;
                                                                                                      6.    Actions taken by civil, governmental or military authorities:
                                                                                                            a)   to enforce any building codes, ordinances or laws regulating
                                                                                                                 or requiring the construction, reconstruction, maintenance,




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              replacement, repair, placement or demolition of any building                  possessed, commercially available supplies manufactured or
              structure, other structure or land at the residence                           produced for use in food preparation, personal hygiene, or for
              premises; or                                                                  cleaning or maintaining a residential property or personal
         b)   requesting, demanding or ordering thai an insured person                      properiy;
              test for, monitor, clean up, remove, contain, treat, detoxify,           f)   spillage or release at your residence premises of gas or oil,
              decontaminate, or neutralize, or in any way respond to or                     in any form, used to prepare foods at your residence
              assess the effects of, any loss or potential loss at the                      premises, or to heat the dwelling or other building
              residence premises.                                                           structures at your residence premises, when such spillage
                                                                                            or release results in a fire or an explosion at your residence
         However, we will cover sudden and accidental direct physical loss
                                                                                            premises; or
         caused by actions of civil, governmental or military authority to
         prevent the spread of fire.
                                                                                       g)   fuel, oil or other fluids necessary to operate a motorized land
                                                                                            vehicle if, at the time of the loss, such fuel, oil or other fluids
    7.   Nuclear hazard, meaning nuclear reaction, discharge, radiation or                  are being used solely for the purpose of operaiing a
         radioactive contamination, or any consequence of any of these.                     motorized land vehicle and the loss results from a collision, at
         Loss which consists of, is caused by, or would not have occuned                    the residence premises, of the motorized land vehicle with
         but for, the nuclear hazard is not considered loss by fire, explosion              property we cover under Dwelling Protection-Coverage A
         or smoke.                                                                          or Other Structures Protection-Coverage B.
    B. a)     War, whether declared or undeclared;
                                                                                 10.   Lack of   utility services at the residence premises, meaning loss or
       b)     warlike acts;
                                                                                       intenuption of, lack or loss of access to, or unavailability of, one or
       c)     invasion;
                                                                                       more utility services for the residence premises, including, but
       d)     insurrection;
                                                                                       not limited to, electric, natural gas or other fuels, water, sanitation,
       e)     rebellion;
                                                                                       sewer, cable or communication services, unless the lack of utility
       f)     revolution;
                                                                                       services results solely from a sudden and accidental direct physical
       g)     civil war;
                                                                                       loss to property located at the residence premises caused by an
       h)     usurped power;
                                                                                       event, peril or condition not excluded by this policy.
       i)     destruction for a military purpose; or
       j)     action taken by civil, governmental or military authority to             When the lack of utility services results in freezing of:
              hinder or defend against an actual or impending enemy act.               a)   plumbing, automatic fire protective sprinkler system, heating
                                                                                            or air conditioning systems; or
    9.   Vapors, fumes, smoke, smog, soot, alkalis, acids, toxic chemicals,
                                                                                       b)   householdappliances;
         toxic gasses, toxic liquids, toxic solids, waste materials, or other
         irritants, contaminants or pollutants.                                        or when the lack of utility services results in discharge, leakage or
                                                                                       overflow from within a) or b) above caused by freezing, we do
         However, we will not apply this exclusion to sudden and accidental
                                                                                       cover sudden and accidental direct physical loss caused by the
         direct physical loss which consists of, is caused by, or would not
                                                                                       freezing if you used reasonable care to maintain heat in the
         have occurred but for:
                                                                                       building structure. lf the building structure     is not equipped with
         a)   a fire or an explosion at   your residence premises;
                                                                                       an automatic fire protective sprinkler system, you may elect to
         b)   smoke or soot resulting from food preparation at       your
                                                                                       shut off the water supply and drain the water from the systems and
              residence premises;
                                                                                       appliances instead of maintaining heat in the building structure.
         c)   the malfunction of a heating or air conditioning system or a
              household appliance at your residence premises;                    11.   lnability of an insured person to use, access or retain personal
         d)   smoke, soot or fumes originating away from your residence                property we cover under Personal Property Protection-
              premises, provided the smoke. soot or fumes:                             Coverage     C due   to an actual, impending or expected lack,                   o
                                                                                                                                                                        o
              1)     were not from industrial, governmental or military                impassability or unavailability of any reasonable means of ingress               o
                                                                                                                                                                        o
                     operations, agricultural smudging, or the manufacturing           to or egress from the residence premises or any other location                   o
                                                                                                                                                                        @
                     of any controlled substance; and                                  where the property is located, including, but not limited to, roads,
              2)     did not result from nuclear hazard, meaning nuclear               highways, causeways, sidewalks, paths, rails, bridges, tunnels or
                     reaction, discharge, radiation or radioactive                     waterways.
                                                                                                                                                                        o
                                                                                                                                                                        o
                                                                                                                                                                        o
                     contaminaiion, or any consequence of any of these;                                                                                                 N
                                                                                       For purposes of this exclusion, a particular means of ingress or
         e)   spray, overspray, spatter, or spillage, by a person located on
                                                                                       egress will be considered impassable or unavailable if:
                                                                                                                                                                        R
                                                                                                                                                                        N
                                                                                                                                                                        o
              the ground at the residence premises or in or upon a                                                                                                      o
              structure we cover at ihe residence premises, of lawfully
                                                                                       a)    it cannot be safely traveled due to physical damage or                     o
                                                                                                                                                                        o
                                                                                                                                                                        o
                                                                                            destruciion of that means of ingress or egress; or                          r
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           b)    it cannot be traveled due to actions by others, including, but                            c)      materials used in repair, construction, renovation or
                 not limited to, civil, governmental or military authorities                                       remodeling; or
                 which prohibit or restrict travel using that means of ingress or                          d)      maintenance;
                 egresS.
                                                                                                           of property whether on or off the residence premises by any
     12.   Weather conditions that contribute in any way with an event, peril                              person or organization.
           or condition excluded under losses We Do Not Cover Under
           Coverage   C    to produce   a loss.                                              Section I Additional Protection
                                                                                             1.   AdditionallivingExpense
B. Under Personal Property Protestion-Coverage                   G of   this policy, we do
                                                                                                  We will pay the reasonable increase in living expenses necessary to
     not cover any loss consisting of or caused by mold, fungus, wet rot, dry
                                                                                                  maintain your normal standard of living when a direct physical loss we
     rot or bacteria. This includes any loss which, in whole or in part, arises
                                                                                                  cover under Dwelling Protection-Coverage A, Other Strustures
     out of, is aggravated by or results from mold, fungus, wet rot, dry rot or
                                                                                                  Protection-Coverage B or Personal Property Protection-Coverage
     bacteria.
                                                                                                  C makes your residence premises uninhabitable. However, additional

     This exclusion applies regardless of whether mold, fungus, wet rot, dry                       living expense due to remediation of mold, fungus, wet rot or dry rot will
     rot or bacteria arises from any other cause of loss, including, but not                       not be paid in addition to any amounts paid or payable under Section I
     limited to, a loss involving water, water damage or discharge, which may                     Conditions, Mold, Fungus, Wet Rot And Dry Rot Remediation As A
     otherwise be covered by this policy, except as specifically provided in                      Direct Result (X A Covered Water Loss.
     Section I Conditions, Mold, Fungus, Wet Rot And Dry Rot
                                                                                                   Payment for additional living expense as a result of a covered loss under
     Remediation As A Direct Result (X A Covered Water Loss.
                                                                                                  Dwelling Protection-Coverage A, 0ther Structures Protection-
C.   When loss is not excluded under paragraph A or paragraph B of Losses                         (overage B or Personal Property Protection-Coverage C will be
     We Do Not Cover Under Coverage               (,   and there are two or more                   limited to the least of the following:
     causes of loss to the covered property, we do not cover the loss if the                      a)       the time period required to repair or replace the property we cover,
     predominant cause(s) of loss is (are) excluded under paragraph              D,                        using due diligence and dispatch;
     immediately below.                                                                            b)      ifyou permanently relocate, the shortest time foryour household
                                                                                                           to settle elsewhere; or
D.   Under Personal Property Protection-Coverage C of this policy, we do
                                                                                                  c)       '12
                                                                                                                 months.
     not cover any loss consisting of or caused by one or more of the
     following excluded events, perils or conditions. Such loss is excluded                       These periods of time are not limited by the termination of this policy.
     regardless of whether the excluded event, peril or condition involves
                                                                                                   ln no event shall our payment for additional living expenses exceed the
     isolated or widespread damage, arises from natural, man-made or other
                                                                                                   Limit   0f Liability shown     on your Policy Declarations for Additional Living
     forces, or arises as a result of any combination of these forces.
                                                                                                   Expense.
     1.    The failure by any insured person to take all reasonable steps to
           save and preserve property when the property is endangered by a                        We do not cover any lost income or expense due to the cancellation of a
           cause of loss we cover.                                                                 lease or agreement.

     2.    Any substantial change or increase in hazard, if changed or
                                                                                                   No deductible applies to this protection.
           increased by any means within the control or knowledge of an
           insured person.                                                                   2.   Civil, Governmental And Military Authorities
     3,    lntentional or criminal acts of or at the direction of any insured                     We will pay the reasonable and necessary increase in living expenses for
           person, if the loss that occurs:                                                        up to two weeks should civil, governmental or military authorities
           a)    may be reasonably expected to result from such acts; or                           prohibit the use of the residence premises due to a loss at        a

           b)    is the intended result of such acts.                                              neighboring premises caused by an event, peril or condition we insure
                                                                                                  against under Dwelling Protection-Coverage A, (Xher Structures
           This exclusion applies regardless of whether the insured person is
                                                                                                   Protection-Coverage            B or Personal   Property Protection-Coverage
           actually charged with, or convicted of, a crime.
                                                                                                   C. However, payments for increase in living expenses due         to remediation
     4.    Planning, Construction or Maintenance, meaning faulty, inadequate                       of mold, fungus, wet rot or dry rot will not be paid in addition to any
           or defective:                                                                          amounts paid or payable under Section I Conditions, Mold, Fungus,
           a)    planning, zoning, development, surveying, siting;                                Wet Rot And Dry Rot Remediation As A Direct Result 0f A Covered
           b)    design, specifications, workmanship, repair, construction,                       Water [oss.
                 renovation, remodeling, grading, compaction;




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     The two-week period of time referenced above is not limited by the               8.    Powerlnterruption
     termination of this policy.                                                            We will pay up to $500 for loss to the contents of freezers and
                                                                                            refrigerated units on the residence premises caused by the intenuption
     No deductible applies to this protection.
                                                                                            of power which occurs off the residence premises. lf a power
3.   Debris Removal                                                                         interruption is known to an insured person, all reasonable means must
     We will pay reasonable expenses you incur to remove debris of covered                  be used to protect the contents of freezers and refrigerated units.
     property damaged by a loss we cover. lf the loss to the covered property
                                                                                            This coverage does not increase the limit of liability applying to the
     and the cost of debris removal are more than the Limit      0f Liability shown
                                                                                            damaged property.
     on the Policy Declarations for the covered property, we will pay up to an
     additional 5% of that limit for debris removal.                                  9.    Arson Reward
                                                                                            We will pay up to $5,000 for information leading to an arson conviction
4.   Emergency Removal (XProperty
                                                                                            in connection with a fire loss to property covered under Section I of this
     We will pay for sudden and accidental direct physical loss to covered
                                                                                            policy. The $5,000 limit applies regardless of the number of persons
     property from any cause while removed from a premises because of
                                                                                            providing information.
     danger from a loss we cover. Protection is limited to a 30-day period
     from date of removal. This protection does not increase the limit of             10.   Collapse
     liability that applies to the covered property.                                        We will cover at the residence premises:

5.   FireDepartmentCharges
                                                                                            a)   the entire collapse of a covered building structure;

     We will pay up to $500 for service charges made by fire departments
                                                                                            b)   the entire collapse of part of a covered building structure; and

     called to protect your property from a loss we cover at the residence
                                                                                            c)   direct physical loss to covered property caused by a) or b) above.

     premises.                                                                              For coverage to apply, the collapse of a   building structure specified   in
                                                                                            a) or b) above must be a sudden and accidental direct physical loss
     No deductible applies to this protection.
                                                                                            caused by one or more of the following:
6.   TemporaryRepairsAfterAloss                                                             a)   a loss we cover under Section l, Personal Property        Protection-
     We will reimburse you up to $5,000 for the reasonable and necessary
                                                                                                 Coverage    C;
     cost you incur for temporary repairs to protect covered property from
                                                                                            b)   weight of persons, animals, equipment or contents;
     further imminent covered loss following     a loss   we cover. This coverage
                                                                                            c)   weight of rain, snow or ice which collects on a roof;
     does not increase the limit of liability applying to the property being
                                                                                            d)   defective methods or materials used in construction, repair,
     repaired.
                                                                                                  remodeling or renovation, but only if the collapse occurs in the
7.   Trees, Shrubs, PlantsAnd lawns                                                              course of such construction, repair, remodeling or renovation.
     We will pay up to 5% of the Limit 0f Liability shown on the Policy
                                                                                            Collapse, as referenced herein, means the covered building structure or
     Declarations under Dwelling Protestion-Coverage A for loss to trees,
                                                                                            part of the covered building structure has actually fallen down or fallen
     shrubs, plants and lawns at the address of ihe residence premises. We
                                                                                            into pieces unexpectedly and instantaneously. lt does not include
     will not pay more than $500 for any one tree, shrub, or plant, including
                                                                                            settling, cracking, shrinking, bulging, expansion. sagging, or bowing.
     expenses incurred for removing debris. This coverage applies only to
                                                                                            Furthermore, collapse does not include or mean substantial structural
     sudden and accidental direct physical loss caused by fire or lightning,
                                                                                            impairment or imminent collapse.
     explosion, riot or civil commotion, aircraft, vehicles not owned by an
     occupant of the residence premises, vandalism or malicious mischief,                   Loss to an awning, fence, patio, deck, pavement, swimming pool,
     theft, or collapse of a building structure or any part of a building                   underground pipe, flue, drain, cesspool, fuel oil tank, septic tank, cistern
     structure.                                                                             or similar system, foundation, retaining wall, bulkhead, pier, wharf or
                                                                                            dock is not included, unless the loss is a direct result of the collapse of a
     We will pay up to $500 for reasonable expenses you incur for the
                                                                                            building structure or part of   a   building structure thai   is a sudden and
     removal of debris of trees at the address of the residence premises for
                                                                                            accidental direct physical loss caused by one or more of the following:               o
                                                                                                                                                                                  o
     sudden and accidental direct physical loss caused by windstorm, hail, or
                                                                                            a)    a loss we cover under Section l, Personal Property        Protection-           o
                                                                                                                                                                                  o
     weight of ice, snow or sleet. The fallen tree must have caused damage to
     property covered under Dwelling Protection-Coverage A or Othet                               Coverage   C;                                                                   o
                                                                                                                                                                                  o
     Structures Protection-Coverage        B.
                                                                                            b)    weight of persons, animals, equipment or contents;                              o
                                                                                            c)    weight of rain, snow or ice which collects on a roof; or                        o
                                                                                                                                                                                  o
     We do not cover trees, shrubs, plants, or lawns grown for business                     d)    defective methods or materials used in construction, repair,                    o
     purposes.                                                                                                                                                                    N
                                                                                                  remodeling or renovation, but only if ihe collapse occurs in the                R
                                                                                                                                                                                  N
     This coverage does not increase the Dwelling Protection-Coverage A                           course of such construction, repair, remodeling or renovation.                  o
                                                                                                                                                                                  o
     limit of liability.                                                                                                                                                          I=
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      This coverage does not increase the limit of liability applying to the                    1)    show us the damaged property. We have a right to
      covered property.                                                                               reasonable and safe opportunities to view and inspect the
                                                                                                      loss as often as necessary, unimpeded by actions of you or
11.   Land
                                                                                                      others, including, but not limited to, civil, governmental or
      lf a sudden and accidental direct physical loss results in both a covered
                                                                                                      military authorities, that prevent us from viewing and
      loss to the dwelling, other than the breakage of glass or safety glazing
                                                                                                      inspecting the loss. We may require you to accompany us
      material, and a loss of land stability, we will pay up to $10,000 as an
                                                                                                      when we conduct these activities.
      additional amount of insurance for repair costs associated with the land.
      This includes the costs required to replace, rebuild, stabilize or otherwise
                                                                                                2)    at our request, submit to examinations under oath, separately
                                                                                                      and apart from any other person defined as you or insured
      restore the land necessary to support that part of the dwelling
                                                                                                      person and sign a transcript of the same.
      sustaining the covered loss.
                                                                                                3)    produce representatives, employees, members ofthe insured
      The Section l, losses We Do Not Cover Under Coverages A and B                                   person's household or others to the extent it     is   within the
      reference to earth movement does not apply to the loss of land stability
                                                                                                      insured person's power to do       so; and
      provided under this additional protection.
                                                                                           g)   within 60 days after the loss, give us a signed, sworn proof of the
12.   Lock Replacement                                                                          loss. This statement must include the following information:
      When a key to a lock is stolen as part of a covered theft loss, we will pay,              1)    the date, time, location and cause of loss;
      under Dwelling Protection-Coverage A or Other Structures                                  2)    the interest insured persons and others have in the property,
      Protection-Coverage        B, as applicable, up   to $500 for the reasonable                    including any encumbrances;
      expenses you incur to replace or re-key exterior door locks at the                        3)    the actual cash value and amount of loss for each item
      residence premises with locks or cylinders of like kind and quality.                            damaged, destroyed or stolen;

      This coverage does not increase the limit of liability that applies to the
                                                                                                4)    any other insurance that may cover the loss;

      covered property.
                                                                                                5)    any changes in title, use, occupancy or possession of the
                                                                                                      property that have occurred during the policy period;
Section lConditions                                                                             6)    at our request, the specifications of any damaged building
l.    Deductible                                                                                      structure or other structure.
      We will pay when a covered loss exceeds the applicable deductible
                                                                                           We have no duty to provide coverage under this section if you,        an
      shown on the Policy Declarations, We will then pay only the excess
                                                                                           insured person, or a representative of either fail to comply with items
      amount, unless we have indicated otherwise in this policy.
                                                                                           a) through g) above, and this failure to comply is prejudicial to us.
2.    lnsurable lnterest And Our Liability
                                                                                      4.   Our Settlement 0ptions
      ln the event of a covered loss, we will not pay for more than an insured
                                                                                           ln the event of a covered loss, we have the option to:
      person's insurable interest in the property covered, nor more than the
      amount of coverage afforded by this policy.
                                                                                           a)   repair, rebuild or replace all or any part of the damaged, destroyed
                                                                                                or stolen property with property of like kind and quality within a
3.    What You Must Do After A Loss                                                             reasonable time; or
      ln the event of a loss to any property that may be covered by this policy,           b)   pay for all or any part of the damaged, destroyed or stolen property
      you must:                                                                                 as described in Condition 5, How We Pay For A Loss.
      a)     immediately give us or our agent notice. Report any theft to the
             police as soon as possible.                                                   Within 30 days after we receive your signed, sworn proof of loss, we
      b)     protect the property from further loss. Make any reasonable repairs           will notify you of the option or options we intend to exercise.
             necessary to protect it. Keep an accurate record of any repair           5.   How We Pay For A loss
             expenses.                                                                     Under Dwelling Protection-Coverage A, (Xher Structures
      c)     separate damaged from undamaged personal property. Give us a                  Protection-Coverage B and Personal Property Protection-Coverage
             detailed list of the damaged, destroyed or stolen property, showing           C, payment for covered loss   will be by one or more of the following
             the quantity, cost, actual cash value and the amount of loss                  methods:
             claimed.                                                                      a)   Special Payment. At our option, we may make payment for a
      d)     give us all accounting records, bills, invoices and other vouchers, or
                                                                                                covered loss before you repair, rebuild or replace the damaged,
             certified copies, which we may reasonably request to examine and                   destroyed or stolen property if:
             permit us to make copies.                                                          1)    the whole amount of loss for property covered under
      e)     produce receipts for any increased costs to maintain your standard                       Dwelling Protection-Coverage A and 0ther Structures
             of living while you reside elsewhere, and records supporting any                         Protection-Coverage      B,   without deduction for depreciation,
             claim for loss of rental income.
      f)     as often as   we reasonably require:


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              is less than $2,500 and if the property is not excluded from                      structures and structures other than building structures
              the Building Structure Reimbursement provision; or                                involved in the loss.
         2)   the whole amount of loss for property covered under
                                                                                       lf you replace the damaged building structure(s) at an address
              Personal Property Protection-Coverage          C,without
                                                                                       other than shown on the Policy Declarations through construction
              deduction for depreciation, is   less than $2,500, your Policy
                                                                                       of a new structure or purchase of an existing structure, such
              Declarations shows that the Personal Property
                                                                                       replacement will not increase the amount payable under Building
              Reimbursement provision applies, and the property is not
                                                                                       Structure Reimbursement described above. The amount payable
              excluded from the Personal Property Reimbursement
                                                                                       under Building Structure Reimbursement described above does not
              provision.
                                                                                       include the value of any land associated with the replacement
    b)   Actual Cash Value. lfyou do not repair or replace the damaged,                structure(s).
         destroyed or stolen property, payment will be on an actual cash
                                                                                       Building Structure Reimbursement payment will be limited to the
         value basis. This means there may be a deduction for depreciation.
                                                                                       difference between any actual cash value payment made for the
         Payment will not exceed the Limit    0f Liability shown on the Policy
                                                                                       covered loss to building structures and the smallest of 1), 2) or 3)
         Declarations for the coverage that applies to the damaged,
                                                                                       above.
         destroyed or stolen property, regardless of the number of items
         involved in the loss.                                                         Building Structure Reimbursement will not apply to:

         You may make claim for additional payment as described in
                                                                                       1)       property covered under Personal Property Protection-
                                                                                                Coverage   C;
         paragraph c) and paragraph d) below if applicable, if you repair or
         replace the damaged, desiroyed or stolen covered property within
                                                                                       2)       property covered under 0ther Structures Protection-
                                                                                                Coverage B that is not a building structure;
         180 days of the actual cash value payment.
                                                                                       3)       wall-to-wall carpeting, fences, awnings and outdoor antennas,
    c)   Building Structure Reimbursement. Under Dwelling Protection-                           whether or not fastened to a building structure;
         Coverage A and Other Strustures Protection-Coverage B, we                     4)       roof surface(s) when the loss     is caused by windstorm or hail;
         will make additional payment to reimburse you for cost in excess                       0r
         of actual cash value if you repair, rebuild or replace damaged,               5)       land.
         destroyed or stolen covered property within 180 days of the actual
                                                                                  Payment under a), b) or c) above will not include any increased cost due
         cash value payment. This additional payment includes the
                                                                                  to the enforcement of building codes, ordinances or laws regulating or
         reasonable and necessary expense for treatmeni or removal and
                                                                                  requiring the construction, reconstruction, maintenance, replacement,
         disposal of contaminants or pollutants as required to complete
                                                                                  repair, relocation or demolition of building structures or other
         repair or replacement of that part of a building   structure
                                                                                  structures.
         damaged by a covered loss. This additional payment shall not
         include any amounts which may be paid or payable under Section I         d)   Personal Property Reimbursement. Under Personal Property
         Conditions, Mold, Fungus, Wet Rot And Dty Rot Remediation                     Protection-Coverage         C,   we will make additional payment to
         As A Direct Result (X A Covered Water Loss, and shall not be                  reimburse you for cost in excess of actual cash value if you repair,
         payable for any losses excluded in Section    l-Your Property,                rebuild or replace damaged, destroyed or stolen covered personal
         under losses We Do Not Cover Under Coverages A and B,                         property or wall-to-wall carpeting within 180 days of the actual
         paragraph B.                                                                  cash value payment.

         Building Structure Reimbursement will not exceed the smallest of              Personal Property Reimbursement payment will not exceed the
         the following amounts:                                                        smallest of the following amounts:
         1)   the replacement cost of the part(s) of the building                      l)       the amount actually and necessarily spent to repair or replace
              strusture(s) for equivalent construction for similar    use on                    the property with similar property of like kind and quality;
                                                                                                                                                                           o
              the same residence premises;                                             2)       the cost of repair or restoration; or                                      o
                                                                                                                                                                           o
         2)   the amount actually and necessarily spent to repair or replace           3)       the Limit 0f Liability shown on the Policy Declarations for                o
              the damaged building structure(s) with equivalent                                 Personal Property Protection-Coverage            C, or any special         o
              consiruction for similar use on the same residence premises;                      limit of liability described in the policy, regardless of the              $
                                                                                                                                                                           o
                                                                                                                                                                           o
              or                                                                                number of items of personal property involved in the loss.
                                                                                                                                                                           o
         3)   the Limit    0f Liability applicable to the building structure(s)
                                                                                        Personal Property Reimbursement will be limited to the difference                  N
              as shown on the Policy Declarations for    Dwelling                                                                                                          R
                                                                                                                                                                           N
                                                                                        between any actual cash value payment made for the covered loss                    o
                                                                                                                                                                           o
              Protection-€overage A or Other Structures Protection-                                                                                                        o
                                                                                       to personal property and the smallest of         1), 2) or 3) above.                0
              Coverage B, regardless of the number of building                                                                                                             o
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          Personal Property Reimbursement will not apply to:                           10.   Our Rights To Recover Payment
          1)      property insured under Dwelling Protection-CoverageA                       When we pay for any loss, an insured person's right to recover from
                  and   0ther Structures Protection-Coverage        B, except                anyone else becomes ours up to the amount we have paid. An insured
                  wall-to-wall carpeting;                                                    person must protect these rights and help us enforce them. You may
          2)      antiques, fine arts, paintings, statuary and similar articles              waive your rights to recover against another person for loss involving
                  which, by their inherent nature, cannot be replaced;                       the property covered by this policy. This waiver must be in writing prior
          3)      articles whose age or history contribute substantially to their            to the date of loss.
                  value. This includes, but is not limited to, memorabilia,
                                                                                       11.   Our Rights To Obtain Salvage
                  souvenirs and collector's items;
                                                                                             We have the option to take all or any part of the damaged or destroyed
          4)      property that was obsolete or unusable for the originally
                                                                                             covered property upon replacement by us or payment of the agreed or
                  intended purpose because of age or condition prior to the
                                                                                             appraised value.
                  loss; or
          5)      motorized land vehicles used solely for the service of the                 We will notify you of our intent to exercise this option within 30 days
                  insured premises and not licensed for use on public roads.                 after we receive your signed, sworn proof of loss. lf no signed, sworn
                  This does not include motorized land vehicles designed for                 proof of loss is requested by us, we will notify you of our intent to
                  assisting the disabled and not licensed for use on public                  exercise this option within 60 days after the date you report the loss to
                  roads.                                                                     us.

6.   Our Settlement 0f       Loss            \
                                                                                             When we settle any loss caused by theft or disappearance, we have the

     We will settle any covered loss with you unless some other person or                    right to obtain all or part of any property which may be recovered. An
     entity is named in the policy. We will settle within 60 days after the                  insured person must protect this right and inform us of any property
     amount of loss is finally determined. This amount may be determined by                  recovered. We will inform you of our intent to exercise this right within

     an agreement between you and us, an appraisal award or a court                          10 days of    your notice of recovery to us,
     judgment.                                                                         12.   Action Against Us

7.   Appraisal
                                                                                             No one may bring an action against us in any way related to the
                                                                                             existence or amount of coverage, or the amount of loss for which
     lf you and we fail to agree on the amount of loss, either party may make
                                                                                             coverage is sought, under a coverage to which this Section I Conditions
     written demand for an appraisal. Upon such demand, each party must
                                                                                             applies, unless:
     select a competent and impartial appraiser and notify the other of the
     appraiser's identity within 20 days after the demand is received. The
                                                                                             a)       there has been full compliance with all policy terms; and

     appraisers will select a competent and impartial umpire. lf the appraisers
                                                                                             b)       the action is commenced within one year after the inception of loss

                                                             you or we                                or damage.
     are unable to agree upon an umpire within 15 days,            can ask a
     judge of a court of record in the state where the residence premises is           ]3.   loss ToA Pair       0   Set
     located to select an umpire.                                                            lf there is a covered loss to a pair or set, we may:

     The appraisers shall then determine the amount of loss, stating
                                                                                             a)       repair or replace any part of the pair or set to restore it to its actual
                                                                                                      cash value before the loss; or
     separately the actual cash value and the amount of loss to each item.        lf
     the appraisers submit a written report of an agreemeni to you and to us,
                                                                                             b)       pay the difference between the actual cash value of the pair or set
                                                                                                      before and after the loss.
     the amount agreed upon shall be the amount of loss. lf they cannot
     agree, they will submit their differences to the umpire. A written award          i4.   Glass Replacement
     agreed upon by any two will determine the amount of loss.                               Payment for loss to covered glass includes the cost of using safety

     Each party   will pay the appraiser it chooses, and equally bear expenses               glazing materials when required by law.

     for the umpire and all other appraisal expenses.                                  15.   No Benefit To Bailee
8.   Abandoned Property                                                                      This insurance will not benefit any person or organization that may be

     We are not obligated to accept any property or responsibility for any                   caring for or handling your property for a fee.
     property abandoned by an insured person.                                          16.   0therlnsurance
9.   Permission Granted To You
                                                                                             lf both this insurance and other insurance apply to a loss, we will       pay the

     a)   The residence premises may be vacant or unoccupied for any
                                                                                             proportionate amount that this insurance bears to the total amount of all
                                                                                             applicable insurance. However, in the event of a loss by theft, this
          length of time, except where a time limit is indicated in this policy.
                                                                                             insurance shall be excess over any other insurance that covers loss by
          A building structure under construction is not considered vacant.
     b)   You may make alterations, additions or repairs, and you may
                                                                                             theft.

          complete structures under construction.



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17.   PropertylnsuranceAdjustment                                                          19.   Mold, Fungus, Wet Rot And Dry Rot Remediation As A Direct
      At each policy renewal, we may increase the Limit 0f Liability shown on                    Result (X A Covered Water loss
      the Policy Declarations for Dwelling Protection-Coverage A to reflect                      ln the event of a covered water loss under Dwelling Protection-
      the minimum amount of insurance coverage we are willing to issue for                       Coverage A, Other Structures Protection-€overage B or Personal
      the succeeding policy period under Dwelling Protection-€overage A                          Property Protection-Coverage        C,   we will pay up to $5,000 for mold,
      for your dwelling and other property we cover under Dwelling                               fungus, wet rot or dry rot remediation.
      Protection-Coverage A.
                                                                                                 Remediation means the reasonable and necessary treatment, removal
      Any adjustment in the limit of liability for Dwelling   Protection-                        or disposal of mold, fungus, wet rot or dry rot as required to complete
      Coverage A will result in an adjustment in the limit of liability for      0ther           repair or replacement of property we cover under Dwelling Protection-
      Structures Protection-Coverage B and Personal Property                                     Coverage A,Other Structures Protection-Coverage B or Personal
      Protection-Coverage       C in accordance   with our manual of       Rules and             Property Protection-Coverage        C damaged by a covered     water loss,
      Rates.                                                                                     including payment for any reasonable increase in living expenses
                                                                                                 necessary to maintain your normal standard of living if mold, fungus,
      Any adjustment in premium resulting from the application of this
                                                                                                 wet rot or dry rot makes your residence premises uninhabitable.
      condition will be made based on premium rates in use by us at the time           a
                                                                                                 Remediation also includes any investigation or testing to detect,
      change in limits is made.
                                                                                                 measure or evaluate mold, fungus, wet rot or dry rot.
      We will not reduce the Limit 0f Liability shown on the Policy
                                                                                                 This Condition does not increase the limits of liability under Dwelling
      Declarations without your consent. You agree that       it   is   your
                                                                                                 Protection-Coverage A, 0ther Structures Protection-Coverage              B or
      responsibility to ensure that each of the Limits 0f Liability shown on the
                                                                                                 Personal Property Protection'Coverage C.
      Policy Declarations are appropriate for your insurance needs. lf you
      want to increase or decrease any of the Limits 0f Liability shown on the
                                                                                           Section ll-Family liability And Guest Medical
      Policy Declarations, you must contact us to request such a change.
                                                                                           Protection
18.   Mortgagee
      A covered loss will be payable to the mortgagee(s) named on the Policy
                                                                                           Family Liability Protection-Coverage X
      Declarations, to the extent of their interest and in the order of
      precedence. All provisions of Section I of this policy apply to these                Losses We Cover Under Coverage X:
      mortgagees.                                                                          Subject to the terms, conditions and limitations of this policy, we will pay

      Wewill:                                                                              damages which an insured person becomes legally obligated to pay because

      a)   protect the mortgagee's interest in a covered building structure                of bodily injury or property damage arising from an occurrence to which

           in the event of an increase in hazard, intentional or criminal acts of,         this policy applies, and is covered by this part of the policy.

           or directed by, an insured person, failure by any insured person                We may investigate or seitle any claim or suit for covered damages against          an
           to take all reasonable steps to save and preserve property after a              insured person. lf an insured person is sued for these damages, we will
           loss, a change in ownership, or foreclosure if the mortgagee has no             provide a defense with counsel of our choice, even if the allegations are
           knowledge of these conditions; and                                              groundless, false or fraudulent. We are not obligated to pay any claim or
      b)   give the mortgagee at least 10 days notice if we cancel this policy.            judgment after we have exhausted our limit of liability.

      The mortgagee will:
                                                                                           losses We Do Not Cover Under Coverage X:
      a)   furnish proof of loss within 60 days after notice of the loss if an
                                                                                           1.    We do not cover any bodily injury or property damage intended by, or
           insured person fails to do     so;
                                                                                                 which may reasonably be expected to result from the intentional or
      b)   pay upon demand any premium due if an insured person fails to
                                                                                                 criminal acts or omissions of, any insured person. This exclusion applies
           do so;
                                                                                                 even if:                                                                                 o
      c)   notify us in writing of any change of ownership or occupancy or
                                                                                                 a)    such insured person lacks the mental capacity to govern his or her
                                                                                                                                                                                          o
                                                                                                                                                                                          o
           any increase in hazard of which the mortgagee has knowledge;                                                                                                                   o
                                                                                                       conduct;                                                                           o
      d)   give us the mortgagee's right of recovery against any party liable
                                                                                                 b)    such bodily injury or property damage is of a different kind or                    o
           for    loss; and
                                                                                                       degree than intended or reasonably expected; or                                    o
      e)   after a loss, and at our option, permit us to satisfy the mortgage
                                                                                                 c)    such bodily injury or property damage is sustained by a different
                                                                                                                                                                                          o
               requirements and receive full transfer of the mortgage.                                                                                                                    N
                                                                                                       person than intended or reasonably expected.
                                                                                                                                                                                          R
                                                                                                                                                                                          N
      This mortgagee interest provision shall apply to any trustee or loss                                                                                                                o
                                                                                                 This exclusion applies regardless of whether such insured person is
      payee or other secured party.                                                                                                                                                       I
                                                                                                 actually charged with, or convicted of, a crime.                                         o
                                                                                                                                                                                          N
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2.   We do not cover bodily injury to an insured person or property                  7.     We do not cover bodily injury or property damage arising out of:
     damage to property owned by an insured person whenever any benefit                     a)     the negligent supervision by any insured person of any person; or
     of this coverage would accrue directly or indirectly to an insured                     b)     any liability statutorily imposed on any insured person;
     person.
                                                                                            arising from the ownership, maintenance, use, occupancy, renting,
3.   We do not cover bodily injury to any person eligible to receive any                    loaning, entrusting, loading or unloading of any aircraft, watercraft,
     benefits required to be provided, or voluntarily provided, by an insuted               hovercraft, motorized land vehicle or trailer which is not covered under
     person under any workers' compensation, non-occupational disability or                 Section   ll   of this policy.
     occupational disease law.
                                                                                     8.     We do not cover any bodily injury which results in any manner from the
4.   We do not cover bodily injury or property damage arising out of the                    discharge, dispersal, release or escape of vapors, fumes, smoke, smog,
     ownership, maintenance. use, occupancy, renting, loaning, entrusting,                  soot, alkalis, acids, toxic chemicals, toxic gasses, toxic liquids, toxic
     loading or unloading of aircraft.                                                      solids, waste materials, or other irritants, contaminants or pollutants.

     We will not apply this exclusion to bodily injury to a residence                       We will not apply this exclusion to bodily injury which results from such
     employee.                                                                              discharge, dispersal, release or escape, if the discharge, dispersal,
                                                                                            release or escape is sudden and accidental.
5.   We do not cover bodily injury or property damage arising out of the
     ownership, maintenance, use, occupancy, renting, loaning, entrusting,           9.     We do not cover any property damage which results            in any manner

     loading or unloading of any motor vehicle or trailer. We will not apply                from vapors, fumes, smoke, smog, soot, alkalis, acids, toxic chemicals,
     this exclusion to:                                                                     toxic gasses, toxic liquids, toxic solids, waste materials, or other initants,
     a)   a motor vehicle in dead storage or used exclusively on an insured                 contaminants or pollutants.
           premises;                                                                 '10.   We do not cover any liability imposed upon any insured person by any
     b)   any motor vehicle designed principally for recreational use off
                                                                                            civil, governmental or military authority for bodily injuty or property
          public roads, unless that vehicle is owned by an insured person
                                                                                            damage which results in any manner from vapors, fumes, smoke, smog,
          and is being used away from an insured premises;
                                                                                            soot, alkalis. acids, toxic chemicals, toxic gasses, toxic liquids, toxic
     c)   a motorized wheelchair;
                                                                                            solids, waste materials, or other initants, contaminants or pollutants.
     d)   a vehicle used to service an   insured premises which is not
           designed for use on public roads and not subject to motor vehicle         ll.    We do not cover bodily injury or property damage arising out of the
           registration;                                                                    rendering of, or failure to render, professional services by an insured
     e)   a golf cart owned by an insured person when used for golfing                      person.
           purp0ses;
                                                                                     12.    We do not cover bodily injury or property damage arising out of the
     D    a trailer of the boat, camper, home or   utility type unless it is being
                                                                                            past or present business activities of an insured person.
           towed or carried by a motorized land vehicle;
     g)    lawn or garden implements under 40 horsepower; or                                We will not apply this exclusion to bodily injury or property damage
     h)    bodily injury to   a residence employee.                                         arising from the occasional or part-time business activities of an
                                                                                            insured person who         is a student under 21 years of age who is self-
6.   We do not cover bodily injury or property damage arising out of the
                                                                                            employed and has no employees.
     ownership, maintenance, use, occupancy, reniing, loaning, entrusting,
     loading or unloading of watercraft away from an insured premises if the         13.    We do not cover bodily injury or property damage arising out of any
     watercraft:                                                                            premises, other than an insured premises, owned, rented or controlled
     a)    has inboard or inboard-outboard motor power of more than 50                      by an insured person. We will not apply this exclusion to bodily          injury
           horsepower;                                                                      to   a residence employee.
     b)    is a sailing vessel 26 feet or more in length;
                                                                                     14.    We do not cover property damage to property rented to, occupied or
     c)    is powered by one or more outboard motors with more than 25
                                                                                            used by, or in the care of, an insured person. We will not apply this
           total horsepower;
                                                                                            exclusion if the property damage is caused by fire, explosion or smoke.
     d)    is designated as an airboat, air cushion, or similar type of
           watercraft; or                                                            15.    We do not cover any liability an insured person assumes arising out of
     e)    is a personal watercraft, meaning a craft propelled by a water jet               any contract or agreement.
           pump engine and designed to be operated by a person or persons
                                                                                     16.    We do not cover bodily injury or property damage caused             by:
           sitting, standing or kneeling on the craft.
                                                                                            a)     war, whether declared or undeclared;
     We will not apply this exclusion to bodily iniury to a residence                       b)     warlike acts;
     employee.                                                                              c)     invasion;




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      d)    insunection;                                                                     b)   is caused by the activities of an insured person or a residence

      e)    rebellion;                                                                            employee;
      f)    revolution;                                                                      c)   is caused by an animal owned by or in the care of an     insured
      C)    civil war;                                                                            person; or
      h)    usurped power;                                                                   d)   is sustained by a residence   employee.
      i)    destruction for a military purpose; or
                                                                                        losses We Do Not Cover Under Coverage Y:
      j)    action taken by civil, governmental or military authority to hinder
            or defend against an actual or impending enemy act.
                                                                                        l.   We do not cover any bodily injury intended by, or which may
                                                                                             reasonably be expected to result from the intentional or criminal acts or
17.   We do not cover bodily injury or property damage which, in whole or                    omissions of, any insured person. This exclusion applies even if:
      in part, arises out of, is aggravated by or results from mold, fungus, wet             a)   such insured person lacks the mental capacity to govern his or her
      rot, dry rot or bacteria.                                                                   conduct;

lB,   We do not cover any liability imposed upon any insured petson by any
                                                                                             b)   such bodily injury is of a different kind or degree than intended or
                                                                                                  reasonably expected; or
      civil, governmental or military authority for bodily iniury or property
      damage which, in whole or in part, arises out of, is aggravated by or
                                                                                             c)   such bodily injury is sustained by a different person than intended
                                                                                                  or reasonably expected.
      results from mold, fungus, wet rot, dry rot or bacteria.
                                                                                             This exclusion applies regardless of whether such insured person is
19.   We do not cover any       loss, cost or expense arising out of any request,
                                                                                             actually charged with, or convicted of, a crime.
      demand, or order that any insured person test for, monitor, clean up,
      remove, contain, treat, detoxify, decontaminate, or neutralize, or in any         2.   We do not cover bodily injury to any insured person or regular
      way respond to or assess the effects of any type of vapors, fumes,                     resident of the insured premises. We will not apply this exclusion to         a
      smoke, smog, soot, alkalis, acids, toxic chemicals, toxic gasses, toxic                residence employee.
      liquids, toxic solids, waste materials, or other irritants, contaminants or
      pollutants.
                                                                                        3.   We do not cover bodily injury to any person eligible to receive any
                                                                                             benefits required to be provided, or voluntarily provided, under any
20.   We do not cover bodily injury or property damage arising out of                        workers' compensation, non-occupational disability or occupational
      nuclear hazard, meaning nuclear reaction, discharge, radiation or                      disease law.
      radioactive contamination, or any consequence of any of these. Bodily
      injury or property damage arising out of a nuclear hazard is not
                                                                                        4.   We do not cover bodily injury arising out of the ownership,
                                                                                             maintenance, use, occupancy, renting, loaning, entrusting, loading or
      considered as arising from fire, explosion or smoke.
                                                                                             unloading of aircraft.
21.   We do not cover bodily injury or property damage arising out of the
                                                                                             We will not apply this exclusion to bodily injury to a residence
      ownership, maintenance. use, occupancy, renting, loaning, entrusting,
                                                                                             employee.
      loading or unloading of hovercrafts. We will not apply this exclusion to
      bodily injury to    a residence employee.                                         5.   We do not cover bodily injury arising out of the ownership,
                                                                                             maintenance, use, occupancy, renting, loaning, entrusting, loading or
Guest Medical Protection-Coverage Y                                                          unloading of any motor vehicle or trailer. We will not apply this
                                                                                             exclusion to:
losses We Cover Under Coverage Y:
We will pay the reasonable expenses incurred for necessary medical, surgical,
                                                                                             a)    a motor vehicle in dead storage or used exclusively on an insured
                                                                                                   premises;
X-ray and dental services, ambulance, hospital, licensed nursing and funeral
services, and prosthetic devices, eye glasses, hearing aids, and
                                                                                             b)    any motor vehicle designed principally for recreational use off
                                                                                                   public roads, unless that vehicle is owned by an insured person
pharmaceuticals. These expenses must be incurred and the services
                                                                                                   and is being used away from an insured premises;
performed within three years from the date of an occurrence causing bodily                                                                                                             o
injury to which this policy applies, and is covered by this part of the policy.
                                                                                             c)    a motorized wheelchair;
                                                                                                                                                                                       o
                                                                                             d     a vehicle used to service an insured premises which is not                          o
                                                                                                                                                                                       o
Each person who sustains        bodily injury   is entitled   to this protection when              designed for use on public roads and not sublect to motor vehicle                   N

that person
                                                                                                                                                                                       o
               is:                                                                                 registration;
l.    on the insured premises with the permission of an insured person; or                   e)    a golf cart owned by an insured person when used for golfing                        o
                                                                                                                                                                                       o
                                                                                                                                                                                       o
                                                                                                   purp0ses;
2.    offthe insured premises, ifthe bodily iniury:
                                                                                             f)    a trailer of the boat, camper, home or   utility type unless it   is being
                                                                                                                                                                                       N
      a)      arises out of a condition on the insured premises or immediately
                                                                                                   towed or carried by a motorized land vehicle;
                                                                                                                                                                                       R
                                                                                                                                                                                       N
                                                                                                                                                                                       o
                                                                                                                                                                                       o
              adjoining ways;
                                                                                             g)    lawn or garden implemenis under 40 horsepower; or                                   o
                                                                                                                                                                                       o
                                                                                             h)    bodily injury to   a residence employee.
                                                                                                                                                                                  9N
                                                                                                                                                                                       N
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House & Home Policy
Policy number:
Policy effective date:
                                        831 830 292
                                        July   4,2022
                                                                                              Page2O of 22           @/llstate.
6.     We do not cover bodily injury arising out of the ownership,                       13.    We do not cover bodily injury caused by:
       maintenance, use, occupancy, renting, loaning, entrusting, loading or                    a)   war, whether declared or undeclared;
       unloading of watercraft away from an insured premises if the                             b)   warlike acts;
       watercraft:                                                                              c)   invasion;
       a)    has inboard or inboard-outboard motor power of more than 50                        d)   insurrection;
             horsepower;                                                                        e)   rebelliou
       b)    is a sailing vessel 26 feet or more in length;                                     f)   revolution;
       c)    is powered by one or more outboard motors with more than 25                        8)   civil war;
            total horsepower;                                                                   h)   usurped power;
       d)    is designated as an airboat, air cushion, or similar type of                       i)   destruction for a military purpose; or
            watercraft; or                                                                      j)   action taken by civil, governmental or military authority to hinder
       e)    is a personal watercraft, meaning a   craft propelled   by a water    jet               or defend against an actual or impending enemy act.
             pump engine and designed to be operated by a person or persons
                                                                                         14.    We do not cover bodily injury which, in whole or in part, arises out of, is
            sitting, standing or kneeling on the craft.
                                                                                                aggravated by or results from mold, fungus, wet rot, dry rot or bacteria.
       We will not apply this exclusion to bodily injury to a residence                  'l5.   We do not cover bodily injury arising out of nuclear hazard, meaning
       employee.
                                                                                                nuclear reaction, discharge, radiation or radioactive contamination, or
7.     We do not cover bodily injury arising out of:                                            any consequence of any of these. Bodily injury arising out of a nuclear
       a)   the negligent supervision by any insured person of any person; or                   hazard is not considered as arising from fire, explosion or smoke
       b)   any liability statutorily imposed on any insured person;
                                                                                         16.    We do not cover bodily injury arising out of the ownership,
       arising from the ownership, maintenance, use, occupancy, renting,                        maintenance, use, occupancy, renting, loaning, entrusting, loading or
       loaning, entrusting, loading or unloading of any aircraft, watercraft,                   unloading of hovercrafts. We will not apply this exclusion to bodily
       hovercraft, motorized land vehicle or trailer which is not covered under                 injury to   a residence employee.
       Section   ll   of this policy.
                                                                                         Section ll Additional Protection
8.     We do not cover any bodily injury which results in any manner from the
                                                                                         We will pay, in addition to the limits of liability:
       discharge, dispersal, release or escape of vapors, fumes, smoke, smog,
                                                                                         l.     Claim Expenses
       soot, alkalis, acids, toxic chemicals, toxic gasses, toxic liquids, toxic
                                                                                                We will pay:
       solids, waste materials, or other initants, contaminants or pollutants.
                                                                                                a)   all costs we incur in the settlement of any claim or the defense of
       We will not apply this exclusion to bodily injury which results from such                     any suit against an insured person;
       discharge, dispersal, release or escape, if the discharge, dispersal,                    b)   interest accruing on damages awarded until such time     as   we have
       release or escape is sudden and accidental.                                                   paid, formally offered, or deposited in court the amount for which
                                                                                                     we are liable under this policy; interest will be paid only on
9.     We do not cover bodily injury arising out of the rendering of, or failure
                                                                                                     damages which do not exceed out limits of liability;
       to render, professional services by an insured person.
                                                                                                c)   premiums on bonds required in any suit we defend; we will not pay

10.    We do not cover bodily injury arising out of the past or present                              bond premiums in an amount that is more than our limit of liability;
       business activities of an insured person.                                                     we have no obligation to apply for or furnish bonds;

       We will not apply this exclusion to bodily injury arising from the
                                                                                                d)   up to $150 per day for loss of wages and salary, when we ask you
                                                                                                     to attend trials and hearings;
       occasional or part-time business activities of an insured person who is
                                                                                                e)   any other reasonable expenses incurred by an insured person at
       a student under 21 years of age who is self-employed and has no
                                                                                                     our request.
       employees.
'l1.                                                                                     2.     Emergency First Aid
       We do not cover bodily injury to any person on the insured premises
                                                                                                We will pay reasonable expenses incurred by an insured person for first
       because of a business activity or professional service conducted there.
                                                                                                aid to other persons at the time of an accident involving bodily    injury
12.    We do not cover bodily injury arising out of any premises, other than an                 covered under this policy.
       insured premises, owned, rented or controlled by an insured person.
       We will not apply this exclusion to bodily injury to a residence
                                                                                         3.     Damage To Property      0f Others
                                                                                                At your request, we will pay up to $1,000 each time an insured person
       employee.
                                                                                                causes property damage to someone else's property. At our option, we
                                                                                                will pay the cost to either repair or replace the property damaged by    an
                                                                                                insured person, without deduction for depreciation.



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House & Home Policy                                                                                                                                   Page21 ol 22
Policy number:                           831 830 292
Policy effective date:                   luly 4,2022



     We will not pay for property damage:                                            3.   Our Payment  0f loss-Guest Medical Protection-(overage Y
     a)   to property covered under Section I of this policy;                             We may pay the inlured person or the provider of the medical services.
     b)   to property intentionally damaged by an insured person who has                  Payment under this coverage is not an admission of liability by us or an
          attained the age of      13;                                                    insured person.
     c)   to property owned by or rented to        an   insured person, any tenant
                                                                                     4.   Our   limits 0f Liability
          of an insured person, or any resident in your household; or
                                                                                          Regardless of the number of insured persons, injured persons, claims,
     d)   arising out of:
                                                                                          claimants or policies involved, our total liability under Family   Liability
          1)      past or present business activities;
                                                                                          Protection-Coverage X for damages resulting from one occurrence
          2)      any act or omission in connection with a premises, other than
                                                                                          will not exceed the Limit 0f Liability shown on the Policy Declarations.
                  an insured premises, owned, rented or controlled by an
                                                                                          All bodily injury and property damage resulting from continuous or
                  insured person; or
                                                                                          repeated exposure to the same general conditions is considered the
          3)      the ownership or use of a motorized land vehicle, trailer,
                                                                                          result of one occurrence.
                  aircraft , hovercraf t or watercraft.
                                                                                          Our total liability under Guest Medical Protection-Coverage Y for all
Section ll Conditions                                                                     medical expenses payable for bodily injury, to any one person, shall not
l.   What You Must Do After A loss                                                        exceed the "each person" Limit   0f Liability shown on the Policy
     ln the event of bodily injury or property damage, you must do the                    Declarations.
     following:
     a)    Promptly notify us or our agent stating:
                                                                                     5.   Bankruptcy
                                                                                          We are not relieved of any obligation under this policy because of the
          1)   your name and policy number;
                                                                                          bankruptcy or insolvency of an insured person.
          2)      the date, the place and the circumstances of the loss;
          3)      the name and address of anyone who might have a claim              6.   Our Rights to Recover Payment-Family Liability Protection-
                  against an insured person;                                              Coverage X
          4)      the names and addresses of any witnesses.                               When we pay any loss, an insured person's right to recover from
     b)    Promptly send us any legal papers relating to the accident.                    anyone else becomes ours up to the amount we have paid. An insured
     c)   At our request, an insured person will:                                         person must protect these rights and help us enforce them.
          l)      cooperate with us and assist us in any matter concerning a
                                                                                     7.   Action Against Us
                  claim or suit;
           2)     help us enforce any right of recovery against any person or
                                                                                          a)     No one may bring an action against us in any way related to the
                                                                                                 existence or amount of coverage, or the amount of loss for which
                  organization who may be liable to an insured person;
                                                                                                 coverage is sought, unless there has been full compliance with all
           3)     attend any hearing or trial.
                                                                                                 policy terms.
     d)    Under the Damage To Property           0f Others protection, give us a
                                                                                          b)     No one may bring an action against us in any way related to the
           sworn statement of the loss. This must be made within 60 days
                                                                                                 existence or amount of coverage, or the amount of loss for which
           after the date of loss. Also, an insured person must be prepared to
                                                                                                 coverage is sought, under Family Liability Protection-Coverage
           show us any damaged property under that person's control.
                                                                                                 X, unless the obligation of an insured person to pay has been
     Any insured person will not voluntarily pay any money, assume any                           finally determined either by judgment against the insured person
     obligations or incur any expense, other than for first aid to others at the                 after actual trial, or by written agreement of the insured person,
     time of the loss as provided for in this policy.                                            injured person and us, and the action against us is commenced
                                                                                                 within one year of such judgment or agreement.
2.   What An lnjured Person Must Do-Guest Medical Protection-
                                                                                          c)     No one may bring an action against us in any way related to the
     Coverage Y
                                                                                                 existence or amount of coverage, or the amount of loss for which
     lf someone is injured, that person, or someone acting for that person,
                                                                                                 coverage is sought, under Guest Medical Protection-Coverage                    o
                                                                                                                                                                                o
     must do the following:
                                                                                                 Y, unless such action is commenced within one year after the date              o
     a)    promptly give us written proof of the loss. lf we request, this must
                                                                                                 the expenses for which coverage is sought were actually incuned.
                                                                                                                                                                                o
           be done under oath.
     b)    give us written authorization to obtain copies of all medical records
                                                                                          d)     No one may bring an action against us in any way related to the                o
                                                                                                 existence or amount of coverage, or the amount of loss for which
           and reports.                                                                                                                                                         o
                                                                                                                                                                                o
                                                                                                 coverage is sought, under Section ll Additional Protection,
     c)    permit doctors we select to examine the injured person as often as
                                                                                                 unless such action is commenced within one year after the date the
                                                                                                                                                                                N
           we may reasonably require.                                                                                                                                           R
                                                                                                 claim expenses or emergency first aid expenses for which coverage              o
                                                                                                                                                                                o
                                                                                                 is sought were actually incurred, or   within one year after the date          o
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House & Home Policy
Policy number:
Policy effective date:
                                      831 830 292
                                      July    4,2022
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           of loss to the property if coverage is being sought under the                          b)     bodily injury or property damage covered under Section ll of
           Damage To Property        0f     Others provision.                                            this policy.
     e)    No one shall have any right       to make us a party to   an action   to
                                                                                                  Any reduction or elimination of payments for losses because of any
           determine the liability of an insured person.
                                                                                                  deductible applying to the insurance coverage of the association of
8.   Otherlnsurance-FamilyliabilityProtection-CoverageX                                           building owners collectively is not covered under this protection.
     This insurance is excess over any other valid and collectible insurance
                                                                                                  We will pay only when the assessment levied against the insured
     except insurance that is written specifically as excess over the limits of
                                                                                                  person, as a result of any one loss, for bodily injury or property
     liability that apply to this policy.
                                                                                                  damage exceeds $500 and then only for the amount of such excess.
                                                                                                  This coverage is not subject to any deductible applying to Section I of
Section      lll-0ptional Protection                                                              this policy.

Optional Coverages                                                                                ln the event of an assessment, this coverage is subject to all the
The following 0ptional Coverages may supplement coverages found in                                exclusions applicable to Sections I and      ll of this   policy and the Section I

Section I or Section ll and apply only when they are indicated on the Policy                      and   ll Conditions,     except as otherwise noted.
Declarations. The provisions of this policy apply to each Optional Coverage in
                                                                                                  This coverage is excess over any insurance collectible under any policy
this section unless modified by the terms of the specific 0ptional Coverage.
                                                                                                  or policies covering the association of building owners.
1.   Building Codes-Coverage BC
     We will pay up to the Limit 0f Liability shown         on the Policy Declarations       5.   Extended Coverage 0n Jewelry, Watches And Furs-Coverage                       J

     for Building Codes coverage to comply with local building codes after                        Personal Property Protection-Coverage C is extended to pay for
     covered loss to the dwelling or when repair or replacement results in                        sudden and accidental direct physical loss to the following property,
     increased cost due to the enforcement of any building codes, ordinances                      sublect to the provisions in this coverage:
     or laws regulating or requiring the construction, reconstruction,                            a)     jewelry, watches, gems, precious and semi-precious stones, gold,
     maintenance, replacement, repair, placement or demolition of the                                    platinum; and
     dwelling.                                                                                    b)     furs, including any item containing fur which represents its
                                                                                                         principal value.
2.   lncreased Coverage 0n Business Property-Coverage BP
     The limitation on business property located on the residence                                 The total amount of coverage and per item limit is shown on the Policy
     premises, under Personal Property Protection-Coverage C, is                                   Declarations. This amount is not in addition to the amount of insurance
     increased to the amount shown on the Policy Declarations. This                               applying to Personal Property Protection-Coverage                (.   However, in no
     increased coverage includes property held as samples or for sale or                          event will coverage be less than would have applied in the absence of
     delivery after sale, while the property is on the residence premises.                        Coverage J.

3.   Fire Department Charges-Coverage                 F                                           The following exclusions contained in Losses We Do Not Cover Under
     The $500 limit applying to the fire department service charges under                         Coverage       C apply   to the coverage afforded under this Coverage J:
     Additional Protection is increased to the amount shown on the Policy                          items A.7, A.B, D.l and D.3. ln addition, we do not cover any loss
     Declarations.                                                                                 consisting of or caused by one or more of the following excluded events,
                                                                                                   perils or conditions. Such loss is excluded regardless of whether the
4.   LossAssessments-CoverageG
                                                                                                   excluded event, peril or condition involves isolated or widespread
     lf your residence premises includes          a   building structure which    is
                                                                                                   damage, arises from natural, man-made or other forces, or arises as a
     constructed in common with one or more similar buildings, and you are               a
                                                                                                   result of any combination of these forces.
     member of, and subject to the rules of, an association governing the
                                                                                                   a)    wear and tear;
     areas held in common by all building owners as members of the
                                                                     structure
                                                                                                   b)    gradualdeterioration;
     association, the insured premises means the building
     occupied exclusively by your household as a private residence, including
                                                                                                   c)    inherent vice; or

     the grounds, related structures and private approaches to them.
                                                                                                   d)    insects or vermin.

                                                                                                   Any deductible shown on the Policy Declarations applicable io Personal
     We will pay your share of any special assessments charged against all
                                                                                                   Property Protection-Coverage          C, also applies    to a loss under this
     building owners by the association up to the Limit 0f Liability shown on
                                                                                                   c0verage.
     the Policy Declarations, when the assessment is made as a result of:
     a)   sudden and accidental direct physical loss to the property held in                 6.    lncreased Coverage 0n Theft          0f Silverware-Coverage          ST
           common by all building owners caused by a loss we cover under                           The limitation on theft of goldware, silverware, pewterware and
           Section I of this policf or                                                             platinumware under Personal Property Protection-(overage                   C is

                                                                                                   increased to the amount shown on the Policy Declarations.



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                                                                                                                                                             Page 1 of 5
Policy Endorsement
Policy number:                        831 830 292
Policy effective date:                July   4,2022


The following endorsement changes your policy.                                              You may cancel this policy by notifying us of the future date you
                                                                                            wish to stop coverage.
Please   read this document carefully and keep it with your policy.
                                                                                            Our Right to Cancel
Oklahoma                                                                                    We may cancel this policy by mailing notice to you at the mailing
                                                                                            address shown on the Policy Declarations. When this policy has been
Amendatory Endorsement - AVP14-2
                                                                                            in effect for less than 45 business days, and it is not a renewal with
This form anends the Allstate House & Home Policy and replaces 0klahoma
                                                                                            us, we may cancel this policy for any reason by giving you at least 10
Amendatory Endorsenent form AVPI4-1,
                                                                                            days notice before the cancellation takes effect.
l.   The General section is amended as follows:
                                                                                            When this policy has been in effect for 45 business days or more, or if
     A.    Under Definitions Used In This Policy, the following changes are                 it   is a renewal   with us, we may cancel this policy for one or more of
           made:                                                                            the following reasons:

           1.   The definition of Roof Surface is replaced by the following:
                                                                                            i)      non-payment of premium;
                                                                                            2)      the policy was obtained by misrepresentation, fraud, or
                11.   Roof surface-means the roof surface material type                             concealment of material facts;
                      (slate, composition, wood, tile, metal, all other roof surface
                                                                                            3)      material misrepresentation, fraud, or concealment of material
                      material types) of a building structure or other structure                    facts in presenting a claim;
                      covered under Dwelling Protection-Coverage A or                       4)      there has been a substantial increase in hazard in the risk we
                      Other Structures Protection-Coverage B and all other                          originally accepted;
                      roofing components, including, but not limited to:                    5)      discovery of willful or reckless acts or omissions on the part of
                      a)    flashing, caps, vents, drip edges, and ice shields;                     the named insured which increase any hazard insured against;
                      b)    sheeting, felt and membranes;                                   6)      violation of any local fire, health, safety, building, or
                      c)    modified bitumen, bitumen, rubber, built-up and                         construction regulation or ordinance with respect to any
                            sprayed polyurethane foam roofing;                                      insured property or the occupancy thereof which substantially
                      d)    foam inserts and elastomeric coating;                                   increases any hazard insured against.
                      e)    finials, eave and gable trim and snow guards;
                      f)    battens, counter battens, bird stops, gravel stops;             lf the cancellation is for non-payment of premium, we will give you

                            and
                                                                                            at least 10 days notice. lf the cancellation    is   for any of the other

                      g)    coatings, adhesives, adherents and other finishing
                                                                                            reasons, we will give you at least 30 days notice.

                            materials for roof surface materials and all other              Our mailing the notice of cancellation to you will be deemed to be
                            roofing components.                                             proof of notice. Coverage under this policy will terminate on the

           2.   The definition of Windstorm is addedl
                                                                                            effective date and hour stated on the cancellation notice. Your return
                                                                                            premium, if any, will be calculated on a pro rata basis and refunded at
                14. Windstorm-means wind with           or without precipitation.           the time of cancellation or as soon as possible. However, refund of

     B.    The following provision is added:
                                                                                            unearned premium is not a condition of cancellation. Any unearned
                                                                                            premium amounts under $2.00 will be refunded only upon your
           Conditional Reinstatement                                                        request.
           lf we mail a cancellation notice because you did not pay the required
           premium when due and you then tender payment by check, draft, or                 Our Right Not to Continue or Renew:
           other remittance which is not honored upon presentation, your
                                                                                            We have the right not to renew or continue the policy beyond the
           policy will terminate on the date and time shown on    the cancellation          cunent premium period. lf we do not intend to continue or renew the
                                                                                            policy, we will mail you notice at least 30 days before the end of the
           notice and any notice we issue which waives the cancellation or
                                                                                            premium period. Our mailing the noiice of non-renewal to you will                    o
                                                                                                                                                                                 o
           reinstates coverage is void. This means we will not be liable under
                                                                                            be deemed proof of notice.
                                                                                                                                                                                 o
                                                                                                                                                                                 o
           this policy for claims or damages after the date and time indicated on
                                                                                                                                                                                 o
           the cancellation notice.                                                    D.   The Misrepresentation, Fraud           0r Concealment provision is                   o
     C.    The Cancellation provision is replaced by the following:
                                                                                            replaced by the followingr
                                                                                                                                                                                 o
                                                                                                                                                                                 o
                                                                                            Misrepresentation, Fraud 0r Concealment                                              o
           Cancellation                                                                                                                                                          N
           Your Right To   Cancel                                                                                                                                                R
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Policy endorsement
Policy number:
Policy effective date
                                    831 830 292
                                    July   4,2022
                                                                                                Page 2 of 5            @,4llstate.
         We do not cover any loss or occurrence in which any insured                           B. Under Property We Cover Under Coverage C , item l. is replaced by
         person has concealed or misrepresented any material fact or                                 the following:
         circumstance.
                                                                                                     1.     Personal property owned or used by an insured person
         WARNING: Any person who knowingly, and with intent to inlure,                                      anywhere in the world. When personal property is located away
         defraud or deceive any insurer, makes any claim for the proceeds of                                from the residence premises, coverage is limited to 10% of
         an insurance policy containing any false, incomplete or misleading                                 Personal Property Protection-Coverage          C.

         information is guilty of a felony.
                                                                                                            This limitation does not apply to personal property:
    E.   The Action Against Us provision is replaced by the following:                                      a)   in a newly acquired principal residence for the 30 days
                                                                                                                 immediately after you begin to move property there; or
         Action Against Us
         No one may bring an action against us unless there has been         full
                                                                                                            b)   in use at a temporary residence when a direct physical loss
                                                                                                                 we cover makes your residence premises uninhabitable.
         compliance with all policy terms.

         Any action against us to which neither the Action Against Us
                                                                                               C.    Under Losses We Cover Under Coverage C, items 2. and 8. are
                                                                                                     replaced by the following:
         provision located in Section I Conditions nor the Action Against Us
         provision located in Section      ll Conditions   applies must be                           2.     Windstorm or Hail.
         commenced within two years of the date the cause of action
                                                                                                            We do not cover:
         accrues.lf an action is brought asserting claims relating to the
         existence or amount of coverage, or the amount of loss for which
                                                                                                            a)   loss to covered property inside a building structure,
                                                                                                                 caused by rain, snow, sleet. sand or dust unless the wind
         coverage is sought, under different coverages of this policy, the
                                                                                                                 or hail first damages the roof or walls and the wind forces
         claims relating to each coverage shall be treated as if they were
                                                                                                                 rain, snow, sleet, sand or dust through the damaged roof
         separate actions for the purpose of the time limit to commence
                                                                                                                 or wall;
         action.
                                                                                                            b)   loss to watercraft and their trailers, furnishings,
         The   Arbitration provision is replaced by the following:                                               equipment and motors unless inside a fully enclosed
                                                                                                                 building structure. However, we do cover canoes and
         Arbitration
                                                                                                                 rowboats on the residence premises.
         Any claim or dispute in any way related to this policy, by an insured
         person against us or us against an insured person, may be resolved                          8.     Vandalism and malicious mischief.
         by arbitration only upon mutual consent      ofthe parties. Arbitration
                                                                                                            We do not cover vandalism or malicious mischief if your
         pursuant to this provision shall be voluntary and non-binding, subject
                                                                                                            dwelling has been vacant or unoccupied for more than 60
         to the following:
                                                                                                            consecutive days immediately prior to the vandalism or
         1.      no arbitrator shall have the authority to award punitive
                                                                                                            malicious mischief. A dwelling under construction is not
                 damages or attorney's fees;
                                                                                                            considered vacant or unoccupied.
         2.      neither of the parties shall be entitled to arbitrate any claims or
                 disputes in a representative capacity or as a member of a     class;   lll.   ln Section I   Additional Protection, items L and 7. are replaced by the
                 and                                                                           following;
         3.      no arbitrator shall have the authority, without the mutual                    '1.   Additional Living Expense
                 consent of the parties, to consolidate claims or disputes in
                                                                                                     We will pay the reasonable increase in living expenses necessary to
                 arbitration.
                                                                                                     maintain your normal standard of living when a direct physical loss
    ln Section   l-Your Property,     the following changes are made:                                we cover under Dwelling Protection-Coverage A, Other
                                                                                                     Structures Protection-Coverage B or Personal Property
    A.   Under losses We Do Not Cover Under Coverages A And B, item
                                                                                                     Protection-Coverage C makes your residence premises
         D.10. is replaced by the following:
                                                                                                     uninhabitable. However, additional living expense due to remediation
         10.     Vandalism or malicious mischief if your dwelling is vacant or                       of mold, fungus, wet rot or dry rot will not be paid in addition to any
                 unoccupied for more than 60 consecutive days immediately                            amounts paid or payable under Section I Conditions, Mold,
                 prior to the vandalism or malicious mischief. A dwelling under                      Fungus, Wet Rot And Dry Rot Remediation As A Direst Result
                 construction is not considered vacant or unoccupied.                                0f A Covered Water Loss.
                                                                                                     Payment for additional living expense as a result of a covered loss
                                                                                                     under Dwelling Protection-Coverage A, Other Structures




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                                                                                                                                                                       l.t{ '.'t'.?
                                                                                                                                                                       F[.EY;
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           Protection-Coverage B or Personal Property                                            2)      property covered under Other Structures
           Protection-Coverage C will be limited to the least of the following:                          Protection-Coverage B that is not a building structure;
           a)   the time period required to repair or replace the property we                    3)      wall-to-wall carpeting, fences, awnings and outdoor antennas,
                 cover, using due diligence and dispatch;                                                whether or not fastened to a building structure; or
           b)    if you permanently relocate, ihe shortest time for your                         4)      roof surface(s) when the loss is caused by windstorm or hail;
                 household to settle elsewhere; or                                                       0r
           c)    24 months.                                                                      5)      land.

           These periods of time are not limited by the termination of this                 B. The first paragraph of the Appraisal provision is replaced by the
           policy.                                                                               following:

           ln no event shall our payment for additional living expenses exceed                   lf you and we fail to agree on the amount of loss, either party may
           the Limit 0f Liability shown on your Policy Declarations for                          make written demand for an appraisal. Upon such demand, each
           Additional Living Expense.                                                            party must select a competent and impartial appraiser and notify the
                                                                                                 other of the appraiser's identity within 20 days after the demand is
           We do not cover any lost income or expense due to the cancellation
                                                                                                 received. The appraisers will select a competent and impartial
           of a lease or agreement.
                                                                                                 umpire. lf the appraisers are unable to agree upon an umpire within
           No deductible applies to this protection.                                             15 days,     you and we can ask       a   judge of the district court in the
                                                                                                 county where the loss occuned to select an umpire. The
      7.   Trees, Shrubs, Plants And lawns
                                                                                                 non-requesting pariy must receive notice of this hearing by certified
           We will pay up to 5% of the Limit 0f Liability shown on the Policy
                                                                                                 mail.
           Declarations under Dwelling Protection-Coverage A for loss to
           trees, shrubs, plants and lawns at the address of the residence                  C.   The Action Against Us provision is replaced by the following:
           premises. We will not pay more than $500 for any one tree, shrub,
                                                                                                 Action Against Us
           or plant, including expenses incurred for removing debris. This
                                                                                                 No one may bring an action against us in any way related to the
           coverage applies only to sudden and accidental direct physical loss
                                                                                                 existence or amount of coverage, or the amount of loss for which
           caused by fire or lightning, explosion, riot or civil commotion, aircraft,
                                                                                                 coverage is sought, under a coverage to which Section I Conditions
           vehicles not owned by an occupant of the residence premises,
                                                                                                 applies, unless:
           vandalism or malicious mischief, theft, or collapse of a building
           structure or any part of a building structure.
                                                                                                 a)      there has been full compliance with all policy terms; and
                                                                                                 b)      the action is commenced within two years after the inception of
           We will pay up to $500 for reasonable expenses you incur for the                              the event resulting in the loss or damage.
           removal of debris of trees at the address of the residence premises
                                                                                        V   ln Section   ll-Family Liability And Guest Medical Protection, the
           for sudden and accidental direct physical loss caused by windstorm,
                                                                                            following changes are made:
           hail, or weight of ice, snow or sleet. The fallen tree must have caused
           damage to property covered under Dwelling Protection-Coverage                    A.   Under losses We Do Not Cover Under Coverage                     X, item f . is
           A or Other Structures Protection -Coverage B.                                         replaced by the following:

           We do not cover trees, shrubs, plants, or lawns grown for business                    1.      We do not cover any bodily injury or property damage
           purp0ses.                                                                                     intended by, or which may reasonably be expected to result
                                                                                                         from the intentional or criminal acts or omissions of, any
           This coverage does not increase the Dwelling Protection-Coverage
                                                                                                         insured person. This exclusion applies even if:
           A limit of liability.
                                                                                                         a)      such insured person lacks the mental capacity to govern
lV.   Section I Conditions is amended as follows:                                                                his or her conduct;

      A.   Under item 5., How We Pay For A Loss, in provision c) (titled
                                                                                                         b)      such bodily   injury or property damage          is of a different         o
                                                                                                                                                                                            o
                                                                                                                 kind or degree than intended or reasonably expected; or                    o
           "Building Structure Reimbursement") the fifth paragraph is replaced
           by the following:
                                                                                                         c)      such bodily   injury or property damage          is sustained by a
                                                                                                                 different person than intended or reasonably expected.                     o
           Building Structure Reimbursement will not apply to:                                                                                                                              o
                                                                                                                                                                                            o
                                                                                                 This exclusion applies regardless of whether such insured person is                        o
           1)    property covered under Personal Property
                                                                                                 actually charged with, or convicted of, a crime.                                           N
                 Protection-Coverage         C;                                                                                                                                             R
                                                                                                                                                                                            N
                                                                                                                                                                                            o
                                                                                                                                                                                            o
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           We will not apply this exclusion if such act or omission was for the        The following endorsement changes your policy.
           preservation of life or property.
                                                                                       Please    read this document carefully and keep it with your policy.
      B. Under losses We Do Not Cover Under Coverage Y, item 1. is
           replaced by the following:                                                  Building Structure Reimbursement
           1.      We do not cover any bodily injury or property damage                Extended Limits Endorsement - AVP13
                   intended by, or which may reasonably be expected to result
                                                                                       For an additional premium and when the Policy Declarations indicates that the
                   from the intentional or criminal acts or omissions of, any
                                                                                       "Building Structure Reimbursement Extended Limits Endorsement " applies, the
                   insured person. This exclusion applies even ifl
                                                                                       following amendment is made to condition 5 (titled "How We Pay For A Loss")
                   a)   such insured person lacks the mental capacity to govern
                                                                                       in Section I Conditions:
                        his or her conduci;
                   b)   such bodily injury or property damage is ofa different              ln provision c) (titled "Building Structure Reimbursement."), item 3) of the
                        kind or degree than intended or reasonably expected; or             second paragraph is replaced by the following:
                   c)   such bodily   injury or property damage    is sustained by a
                                                                                                     3)   120% of the Limit   0f Liability   applicable to the building
                        different person than intended or reasonably expected.
                                                                                                          structure(s)                                     for Dwelling
                                                                                                                         as shown on the Policy Declarations
           This exclusion applies regardless of whether such insured person is                            Protection-Coverage A or 0ther Structures
           actually charged with, or convicted of, a crime.                                               Protection-Coverage B, regardless of the number of building
                                                                                                          structures and structures other than building structures
           We will not apply this exclusion if such act or omission was for the
                                                                                                          involved in the loss.
           preservation of life or property.
                                                                                       This endorsement applies only if, at the time of a covered loss, you have met the
Vl.   ln Section   ll Conditions, under the Action Against Us provision, items
                                                                                       following conditions:
      b), c) and d) are replaced by the following:
                                                                                       L    You insure your dwelling and attached structures to 10070 of
      b)   No one may bring an action against us in any way related      to the             replacement cost as determined by our estimate completed and based on
           existence or amount of coverage, or the amount of loss for which                 the accuracy of information you furnished;
           coverage is sought, under Family     liability Protection-Coverage X,
           unless the obligation of an insured person to pay has been finally
                                                                                       2.   You   have accepted the Property lnsurance Adjustment condition, agree               to
                                                                                            accept each annual adjustment in the Dwelling Protection-Coverage A
           determined by judgment against the insured person after actual
                                                                                            limit of liability, and pay any additional premium charged; and
           trial, or by written agreement of the insured person, injured person
           and us, and the action against us is commenced within two years of          3.   You notify us within 60 days of the start of any modifications that
           such judgment or agreement.                                                      increase the aggregate value of your dwelling, attached structures and
      c)   No one may bring an action against us in any way related      to the             detached building structures at the residence premises by $5,000 or
           existence or amount of coverage, or the amount of loss for which                 more, and pay any resulting additional premium due for the increase in
           coverage is sought, under Guest Medical Protection-Coverage Y,                   value.
           unless such action is commenced within two years after the date the
           expenses for which coverage is sought were actually incurred.
      d)   No one may bring an action against us in any way related to the             All other policy terms and conditions apply
           existence or amount of coverage, or the amount of loss for which
           coverage is sought, under Section     ll Additional Protection, unless
           such action is commenced within two years after the date the claim          The following endorsement changes your policy.
           expenses or emergency first aid expenses for which coverage is
                                                                                       Please    read this document carefully and keep it with your policy.
           sought were actually incurred, or within two years after the date of
           loss to the property if coverage is being sought under    the Damage        Windstorm and HailDeductible Endorsement                                              -
           To Property Of Others provision.
                                                                                       AVP82 (2016)
                                                                                       Under Section I Conditions, Conditions       1,   "Deductible," the following   is
All other policy terms and conditions apply                                            added:

                                                                                            Windstorm And Hail Deductible




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     The windstorm and hail deductible applies in the event of covered loss
     caused by windstorm or hail.
                                                                                       All other policy terms and conditions apply
     The windstorm and hail deductible amount will appear on your Policy               Ed.11121

      Declarations. We will pay only when a covered loss to which this
     deductible applies exceeds the windstorm and hail deductible amount.
     We will then pay only the excess amount.

      lf another deductible applicable to the loss exceeds the windstorm and
      hail deductible, the greater deductible will be applied to the loss.



All other provisions of your policy apply.




The following endorsement changes your policy.
Please   read this document carefully and keep it with your policy.

RoofSurfaces Extended Coverage Endorsement                                         -
AVP42
ln Section I Conditions, item 5, How We Pay For A Loss, provision c) (titled
"Building Structure Reimbursement.") the fifth paragraph is replaced by the
following:

      Building Structure Reimbursement will not apply to:
     1)      property covered under Personal Property Protection-Coverage
             C;

      2)     property covered under Other Structures Protection-Coverage B
             that    is not a building structure;
     3)      wall-to-wall carpeting, fences, awnings and outdoor antennas,
             whether or not fastened to a building structure; or
     4)      land.



All other policy terms and conditions apply.




The following endorsement changes your policy.
Please   read this document carefully and keep it with your policy.
                                                                                                                                                       o
Amendatory Endorsement - AP4985                                                                                                                        o
                                                                                                                                                       o
                                                                                                                                                       o
                                                                                                                                                       o
Throughout the policy, when determining the actual cash value of the loss, the                                                                         o
costs necessary to repair, rebuild or replace the destroyed, damaged or stolen                                                                         o
                                                                                                                                                       o
property may be depreciated. Such costs subject to depreciation may include,                                                                           o
                                                                                                                                                       N
but are not limiied to, goods, materials, equipment, labor, overhead and profit,                                                                       R
                                                                                                                                                       N
taxes, fees or similar charges.                                                                                                                        o
                                                                                                                                                       o
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The   following endorsement changes your policy.                                       14    enemy attack by armed forces, including action taken by mili-
                                                                                       15    tary, naval or air forces in resisting an actual or an immediately
Please read this docunent carefully and keep              it   with your policy.       16    impending enemy attack; (b) invasion; (c) insurrection; (d)
                                                                                       17    rebellion; (e) revolution; (f) civil war; (g) usurped power; (h)
Standard Fire Policy Provisions - AVP2                                                 18    order of any civil authority except acts of destruction at the time
                                                                                       19    of and for the purpose of preventing the spread of fire, provided
                                                                                       20    thai such fire did not originate from any of the perils excluded
This form contains the provisions of the Standard Fire Policy. Whenever the            21    by this policy; (i) neglect of the insured to use all reasonable
terms and provisions of Section I can be construed to perform a liberalization of      22    means to save and preserve the property at and after a loss, or
the provisions found in the Standard Fire Policy, the terms and provisions of
                                                                                       23     when the property     is endangered by fire in neighboring prem-
                                                                                       24     ises;   (j) nor shall this Company be liable for loss by theft.
Section I shall apply.                                                                 25         Other    lnsurance Other       insurance may be prohibited or the
                                                                                       26                                 amount of insurance may be limited by en-
ln Consideration of the Provisions and Stipulations Herein or Added                    27     dorsement attached hereto.
                                                                                       28     Conditions suspending or restricting insurance, Unless
Hereto and of the Premium Specified in the Declarations (or specified in               29     otherwise provided in writing added hereto this Company
endorsement attached thereto), we, for the term shown in the Declarations              30     shall not be liable for loss occurring
from inception date shown in the Declarations until cancelled or                       3l     (a) while the hazard is increased by any means within the con-
expiration at location of property involved, to an amount not exceeding the
                                                                                       32     trol or knowledge of the insured; or
                                                                                       33     (b) while a described building, whether intended for occupancy
limit of liability specified, does insure the lnsured named in the Declarations        34     by owner or tenant, is vacant or unoccupied beyond a period of
and legal representatives, to the extent of the actual cash value of the property      35     sixty consecutive days; or
at the time of loss, but not exceeding the amount which it would cost to repair
                                                                                       36     (c) as a result of explosion or riot, unless fire ensue, and in
                                                                                       37     that event for loss by fire only,
or replace the property with material of like kind and quality within a reasonable     38            Otherperils Any other peril to be insured against or sub-
time after such loss, without allowance of any increased cost of                       39            orsubjects. ject of insurance to be covered in this policy
repair or reconstruction by reason of any ordinance or law regulating                  40                                 shall be by endorsement in writing hereon or
                                                                                       41     added hereto.
construction or repair, and without compensation for loss resulting from               42        Added      provisions, The extent of the application of     insurance
interruption of business or manufacture, nor in any event for more than                43                           under this policy and of the contribution to
the interest of the lnsured, against all DIRECT IOSS BY FIRE, LIGHTNING AND            44     be made by this Company in case of loss, and any other pro-
OTHER PERILS INSURED AGAINST IN THIS POLICY INCLUDING REMOVAL
                                                                                       45     vision or agreement not inconsistent with the provisions of this
                                                                                       46     policy, may be provided for in writing added hereto, but no pro-
FROM PREMISES ENDANGERED BY THE PERILS INSURED AGAINST IN THIS                         47     vision may be waived except such as by the terms of this policy
P0LlCY, EXCEPT AS HEREINAFTER PROVIDED, to the property described herein               48     is subject to change.

while located or contained as described in this policy, or pro rata for five days at
                                                                                       49              Waiver       No permission affecting this insurance shall
                                                                                       50             provisions. exist, or waiver of any provision be valid,
each proper place to which any of the property shall necessarily be removed for        51                           unless granted herein or expressed in wriiing
preservation from the perils insured against in this policy, but not elsewhere.        52     added hereto. No provision, stipulation or forfeiture shall be
                                                                                       53     held to be waived by any requirement or proceeding on the part
Assignment of this policy shall not be valid except with the written consent of
                                                                                       54     of this      Company relating   to   appraisal   or to any   examination
                                                                                       55     provided for herein.
us.                                                                                    56          Cancellation         This policy shall be cancelled at any time
                                                                                       57           ofpolicy,           at the request of the insured, in which case
This policy is made and accepted sublect to the foregoing provisions and               58                               this Company shall, upon demand and sur-
                                                                                       59     render of this policy, refund the excess of paid premium above
stipulations and those hereinafter stated, which are hereby made a part of this        50     the customary short rates for the expired time. This pol-
policy, together with such other provisions, stipulations and agreements as may        61     icy may be cancelled at any time by this Company by giving
be added hereto, as provided in this policy.                                           62     to the  insured a five days' written notice of cancellation with
                                                                                       63     or without tender of the excess of paid premium above the pro
                                                                                       64     rata premium for the expired time, which excess, if not ten-
1         Concealment,         This entire policy shall be void if, whether
                                                                                       65     dered, shall be refunded on demand. Notice of cancellation shall
2           fraud,             before or after a loss, the insured has will-
                                                                                       66     state that said excess premium (if not tendered) will be re-
3                              fully concealed or misrepresented any ma-
4       terial fact or circumstance concerning this insurance or the
                                                                                       67     funded on demand.
5       subject thereof, or the interest of the insured therein, or in case
                                                                                       68               Mortgage lf loss hereunder is made payable, in whole
6       of any fraud or false swearing by the insured relating thereto.                69                    and or in part, to a designated mortgagee not
                                                                                                      interests
7             Uninsurable This policy shall not cover accounts, bills,                 10              obligations. named herein as the insured, such interest in
8                  and             currency, deeds, evidences of debt, money or
                                                                                       71                               this policy may be cancelled by giving to such
9          excepted      property securities; nor, unless specifically       named
                                                                                       72                               mortgagee a ten days'written notice of can-
10                                 hereon   in writing,bullion or manuscripts.
                                                                                       73     cellation.
                    not
                Perils             This Company shall not be liable for loss by
                                                                                       74     lf the insured fails to render proof of loss such mortgagee, upon
11

12              included.          fire or other perils insured against in this        15
                                                                                       -16    notice, shall render proof of loss in the form herein specified
                                   policy caused, directly or indirectly, by: (a)
                                                                                              within sixty (50) days thereafter and shall be subject to the pro-
13




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                                                                                                                                                                F#{,ffi
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Policy endorsement                                                                                                                           Page 2 ol 2
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77
-18 visions  hereof relating to appraisal and time of payment and of 14O         equally.
     bringing suit. lf this Company shall claim that no liability ex- 141              Company's lt shall be optional with this Company to
79 isted as to the mortgagor or owner, it shall, to the extend of pay- 142             options.  take all, or any part, of the property at the
80 ment of loss to the mortgagee, be subrogated to all the mort- 143                                    agreed or appraised value, and also to re-
81 gagee's rights of recovery, but without impairing mortgagee's 144             pair, rebuild or replace the property destroyed or damaged with
82 right to sue; or it may pay off the mortgage debt and require 145             other of like kind and quality within a reasonable time, on giv-
83 an assignment thereof and of the mortgage. Other provisions 146               ing notice of its intention so to do within thirty days after the
84 relating to the interests and obligations of such mortgagee may 147           receipt of the proof of loss herein required.
85 be added hereto by agreement in writing.                                AA         Abandonment. There can be no               abandonment to this Com-
86      Pro rata liability. This Company shall not be liable for a greater 149                             pany of any properiy.
87                           proportion of any loss than the amount 150                 When   loss   The amount of loss for which this Company
88 hereby insured shall bear to the whole insurance covering the 151                        payable.   may be liable shall be payable sixty days
89 property against the peril involved, whether collectible or not. 152                                after proof of loss, as herein provided, is
90      Requirements in      The insured shall give immediate written 153        received by this Company and ascertainment of the loss is made
91     case loss occurs. notice to this Company of any loss, protect 154         either by agreement between the insured and this Company ex-
92                           the property from further damage, forthwith 155     pressed in writing or by the f iling with this Company of an
93 separate the damaged and undamaged personal property, put 155                 award as herein provided.
94 it in the best possible order, furnish a complete inventory of 157                     Suit.          No suit or action on this policy for the recov-
95 the destroyed, damaged and undamaged property, showing in 158                                         ery of any claim shall be sustainable in any
96 detail quantities, costs, actual cash value and amount of loss 159            court of law or equity unless all the requirements of this policy
97 claimed; and within sixty days after the loss, unless such time 160           shall have been complied with, and unless commenced within
98 is extended in writing by this Company, the insured shall render        161   twelve months next after inception of the loss.
99 to this Company a proof of loss, signed and sworn to by the 152                   Subrogation, This Company may require from the insured
100 insured, stating the knowledge and belief of the insured as to 163                                     an assignment of all right of recovery against
]O1 the following: the time and origin of the loss, the interest of the 164      any party for loss to the extend that payment therefor is made
1O2 insured and of all others in the property, the actual cash value of 165      by this Company.
103 each item thereof and the amount of loss thereto, all encum-
1O4 brances thereon, all other contracts of insurance, whether valid
105 or not, covering any of said property, any changes in the title,
106 use, occupation, location, possession or exposures of said prop-
1O7 erty since the issuing of this policy, by whom and for what
108 purpose any building herein described and the several parts
109 thereof were occupied at the time of loss and whether or not it
110 then stood on leased ground, and shall furnish a copy of all the
'll1 descriptions and schedules in all policies and, if required, verified
112 plans and specifications of any building, fixtures or machinery
113 destroyed or damaged. The insured, as often as may be reason-
114 ably required, shall exhibit to any person designated by this
115 Company all that remains of any property herein described, and
116 submit to examinations under oath by any person named by this
117 Company, and subscribe the same; and, as often as may be
118 reasonably required, shall produce for examination all books of
119 account, bills, invoices and other vouchers, or certified copies
12O thereof if originals be lost, at such reasonable time and place as
121 may be designated by this Company or its representative, and
122 shall permit extracts and copies thereof to be made.
123         Appraisal, ln case the insured and this Company shall
124                          fail to agree as to the actual cash value of
125 the amount of loss, then, on the written demand of either, each
126 shall select a competent and disinterested appraiser and notify
127 the other of the appraiser selected within twenty days of such                                                                                                o
128 demand. The appraisers shall first select a competent and dis-                                                                                                o
                                                                                                                                                                  o
129 interested umpire; and failing for fifteen days to agree upon                                                                                                 o
130 such umpire, then, on request of the insured or this Company,                                                                                                 o
                                                                                                                                                                  r
131 such umpire shall be selected by a judge of a court of record in                                                                                              o
132 the state in which the property covered is located. The ap-
133 praisers shall then appraise the loss, stating separately actual                                                                                              o
                                                                                                                                                                  o
134 cash value and loss to each item; and, failing to agree, shall                                                                                                o
135 submit their differences, only, to the umpire. An award in writ-                                                                                              N
                                                                                                                                                                  R
136 ing, so itemized, of any two when filed with this Company shall                                                                                               N
                                                                                                                                                                  o
137 determine the amount of actual cash value and loss. Each                                                                                                      o
138 appraiser shall be paid by the party selecting him and the ex-                                                                                                o
                                                                                                                                                                  I
139 penses of appraisal and umpire shall be paid by the parties                                                                                                   o
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                                                                       Page 1 of 7        @dllstate.
                                                                  home's characteristics is provided in the "lnsured property
Your Estimated Home Replacement Cost                              details" section of your Policy Declarations.
Allstate has determined that the estimated cost to replace        Please note: Your Dwelling information is used to estimate
your home is: $377,467.                                           your home replacement cost. lt's important to review and
We based your estimated cost on information provided by you       update this information so we're using the most accurate
and selected data that was available to us. which is described    details to estimate your home's replacement value.
in the "lnsured property details" section of your Policy          lf the information about your home shown in your Policy
Declarations. Please review all the information in this section   Declarations requires any change or if you have any questions
to ensure the accuracy of the information used to determine       or concerns about the information contained in this lmportant
the estimated replacement cost of your home.                      Notice, please contact your Allstate representative, or call us
The enclosed Policy Declarations shows the limit of liability     at 1-80O-ALLSTATE.
applicable to Dwelling Protection-Coverage A of your
homeowners insurance policy. The estimated replacement                                                                   x73182-1
cost of your home is the minimum amount for which we will
insure your home.

The decision regarding the limit applicable to your Dwelling      Address Confirmation Request
Protection-Coverage A is your decision to make, as long as, at
a minimum, your limit equals the estimated replacement cost       Please Confirm Your Current Address
as determined by Allstate and does not exceed maximum             As you may know, we base our property insurance rates, in
coverage limitations established by Allstate.                     part, on where a customer's property is located. According to
                                                                  our records, the location of the dwelling your property policy
It is important to keep in mind that your Coverage A limits
                                                                  covers is:
reflect a replacement cost that is only an estimate based on
data that was available to us when we made this estimate (this    Address: 82O 3rd St
information is described in the "lnsured property details"        Cily / Y illage/ Townsh i p: Healdton
section of your Policy Declarations). The actual amount it will   State: OK
cost to replace your home cannot be known until after a           Zip:73438-1664
covered total loss has occurred. Please keep in mind that we do   County: Carter
not guarantee the adequacy of the estimate to cover any future
                                                                  We ask that you please review this information to make sure
loss(es).
                                                                  the address we've listed above is accurate. lf you see any
How ls the Replacement Cost Estimated?                            information that is incorrect, please contact your Allstate
Many factors can affect the cost to replace your home,            representative as soon as possible and provide them with the
including its age, size, and type of construction. For example,   correct information. Once we receive your updated
the replacement cost uses construction data, such as labor and    information, we will send you an Amended Policy Declarations
materials, that are available to us when we made this estimate.   and, if necessary, adjust your insurance premium to reflect the
This estimate is also based on characteristics of the home,       updated information.
which include information that you provided to us. You might      lf the information above is correct, you do not need to contact
have chosen to insure your home for a higher amount than the      us. Feel free to contact your Allstate representative with any
estimated replacement cost shown above.                           questions you may have about this notice.
Note to Customers Renewing Their Policy                                                                                   x72770
The estimated replacement cost for your home may have
changed since the last time we communicated this information
to you. This is because, at renewal, Allstate uses the home       ldentity Theft Expenses Coverage-
characteristics that you have provided to us to recalculate and   Coverage for ldentity Theft Victims
update the estimated replacement cost. Using updated labor
and material rates for your zip code, Allstate takes the home     While modern technology has made our lives easier, it has also
characteristics you have provided and determines the updated      made it easier for thieves to commit identity theft.
estimated replacement cost. The information about your



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Thieves begin by gaining access to personal information such       o     Filling out paperwork, including police reports.
as your Social Security Number, date of birth and driver's         o    lssuing a Fraud Alert to the three major credit bureaus, as
license number. They then use this information to set up fake           well as Social Security Administration, Federal Trade
accounts, open loans, rent housing, secure employment or                Commission, and U.S. Postal Service.
even obtain medical care-all without you even knowing.             o    Obtaining copies of your credit bureau reports.
As this crime grows increasingly common, consumers need            o    Working with the three major credit bureaus to restore the
options for dealing with the costs and hassles related to               accuracy of your credit history.
identity theft-that's why we're offering ldentity Theft
Expenses Coverage.
                                                                   o    Reviewing your credit history to verify if fraud includes
                                                                        items such as public records (liens, judgments,
For Just $3O per Year, You Can Get Help            to Restore           bankruptcies); credit accounts; or errors with addresses/
Your Good Name                                                          prior employment.
Now Allstate has a product that can help you if your identity is   o    lssuing a fraud alert to affected financial institutions and
stolen. You can add this optional coverage to your property             credit card companies.
policy for just a few dollars a month-a small price to pay for     o    Tracing Social Security Numbers and notifying and working
peace of mind-especially when you consider that while other             with the Department of Motor Vehicles, collection
insurance companies typically require a deductible for similar          agencies for creditors, and law enforcement personnel.
protection, with Allstate there is no deductible.
                                                                   This may seem overwhelming, but our ldentity Theft Expenses
Allstate Takes ldentity Theft Expenses Coverage a                  Coverage can help. With it, if you decide to hire a firm to help
Step Further                                                       you address identity theft issues such as these, you will have
lf you purchase this coverage, we'll reimburse you for covered     up to $2,000 available to pay for their services. ln addition, we
expenses you incur to restore your identity up to a $25,000        may refer you to a firm that specializes in addressing the
coverage limit. That's more than most companies offer for this     effects of identity theft.* ln either case, if you have this
type of coverage. This coverage includes reimbursement for:        coverage you'll have peace of mind knowing you can get help to
                                                                   restore your identity.
.   Attorneys fees (subject to applicable coverage limlts)-in
    case you need to hire an attorney to defend you if lawsuits    Are You in Good Hands@?
    are brought against you by merchants or collection             With Allstate you're getting more than great products and
    agencies, if you need help to remove criminal or civil         service. You get a team of people who know insurance and give
    judgments wrongly entered against you, or to challenge         you the freedom to manage your insurance your way. To sign
    information contained in your credit report.                   up for ldentity Theft Expenses Coverage, or for more
r   Lost wage recovery (up to $25O/day with a $5,000               information, just call your Allstate representative or log on to
    cap)-this will help cover wages or salary you may lose if      allstate.com.
    you need to take time off work to complete affidavits or
                                                                   " Referrols, if any, ore solely ot the discretion of Allstate. ldentity Theft Expenses
    meet with law enforcement agencies, financial institutions,    Coveroge is subject to policy terms, Please read the policy endorsements carefully.
    credit grantors, credit reporting agencies or attorneys.                                                                                   x71831-1
.   Loan reapplication fees-this covers your expenses if you
    need to reapply for loans denied you solely because the
    lender received incorrect information due to identity theft.   Additional Protection for Your Most
e   Other expenses-covers other expenses involved in
                                                                   Valuable Possessions
    restoring your identity, such as mailing costs, notary                                                                                                        o
                                                                                                                                                                  o
    expenses and long-distance phone calls.                        Property insurance covers many belongings, but some items                                      o
                                                                                                                                                                  o
                                                                   may require higher coverage limits than those in a standard                                    @
You Can Get Help lf You Become a Victim                                                                                                                           o
                                                                   property policy.
lf you become a victim of identity theft, you probably won't                                                                                                      o
                                                                                                                                                                  o
                                                                                                                                                                  o
know all that is involved in restoring your name. There are        Scheduled Personal Property (SPP) coverage gives you
many issues you would need help with, including:                   additional protection against loss or damage to your valuables.                                N
                                                                                                                                                                  N
                                                                                                                                                                  N
r                                                                  It's protection not typically provided with standard property                                  o
                                                                                                                                                                  o
    Understanding your rights as an identity theft victim.
                                                                   coverage. SPP benefits typically include:                                                      o
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o     No deductibles to meet                                        against floods is generally available only through a separate
o     Coverage for lost or damaged items                            policy.
o     Coverage for valuables kept in a storage location outside     That's why Allstate is a participant in the National Flood
      your home                                                     lnsurance Program (NFIP) and offers standard flood insurance
                                                                    policies.* A flood insurance policy can help complete the
Items That May Need the Extra Protection                            insurance protection for your property and help protect your
SPP coverage provides protection for an array of valuable           financial well-being.
personal property. Here are some of the items you can protect
by purchasing SPP coverage through Allstate:                        You May Have More Risk from Flood Than You
r     Jewelry (including wedding rings and precious or
                                                                    Think
      semi-precious stones)                                         Approximately 90 percent of all disasters in the U.S. are flood
                                                                    related. While you may think that it couldn't happen to you,
r     Furs
                                                                    over 25 percent of all flood losses occur in low- to
r     Cameras (digital, still, movie, video and related             moderate-risk areas.
      equipment)
                                                                    What's more, flood damage is often accompanied by other
r     Silverware and antiques (including furniture)                 damage, such as wind and hail (which is typically covered
r     Musical instruments                                           under a property policy). So if you purchase your NFIP
o     Collections (stamps, coins, music)                            coverage through Allstate, you would have the convenience
o                                                                   and peace of mind that comes with working with just one claim
      Fine art works (including paintings, etchings, vases and
                                                                    adjuster and one agent, instead of two or more for a flood
      sculptures)
                                                                    claim.
o     Manuscripts or books
r     Home-officeequipment(laptop,computer,audio,/visual)           Flood Coverage ls Affordable
.                                                                   The federal government sets the rates for flood insurance, so
      Sports equipment (such as golf clubs)
                                                                    there's typically no difference in rates f rom policy to policy.
Affordable Protection for Your Valuables                            You can switch to an NFIP flood insurance policy administered
The cost of SPP coverage varies, but the value of your property     by Allstate for the same amount of premium you may be paying
is the best way to determine how much coverage you need.            elsewhere. lf you choose Allstate, you can have the quality
The rates are generally a small percentage of the total value of    service you've come to expect from us.
the items you're insuring. This means that your valuables are       For more information about flood insurance, or if you have any
being protected for only a fraction of the cost.                    questions about your policy in general, please contact your
Regularly Review Your SPP Coverage                                  Allstate representative or visit us at allstate.com.
Even if you currently have SPP coverage, it's a good idea to        - Allstate provides the standard flood insurance policy
                                                                                                                            under the terms of the
review it annually. lt's possible that the value of your property   National Flood Insurance Act of 1968 and its amendments, and Title 44 of the
has changed or that you've purchased new items that have not        Code of Federal Regulations. The standard flood insurance policy is written by
been added to your coverage.                                        Allstate for the National Flood lnsurance Program which is administered by the
                                                                    Federal lnsurance Administration, part of the Federal Emergency Management
To learn more about SPP coverage, or if you have any questions      Agency,
about your insurance policy in general, contact your Allstate
representative, or visit us at allstate.com.                        Subject to availobility ond qualificotions. Other terms, conditions and exclusions moy
                                                                    oPPlv.
                                                          x73169
                                                                                                                                               x73168


What You Should Know About Flood                                    How We Compensate Our Agencies
lnsurance
                                                                    The company listed below uses local independent insurance
Most homeowners, renters and commercial insurance policies          agencies to provide customers with information and
do not provide coverage for flood damage. ln fact, protection       high-quality service in connection with their insurance buying
                                                                    decisions. These independent insurance agencies represent



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the company and provide numerous services to customers on        qualify for a lower premium. ln any case, you will be notified of
the company's behalf. lndependent insurance agencies are         the outcome of our review.
paid a commlssion by the company for selling and servicing the
company's insurance policies and may be eligible to receive      Thank You
additional compensation and rewards based on performance.        Allstate values and appreciates your business. We look
Any questions about the nature of this compensation can be       forward to helping protect what's important to you for many
                                                                 years.
directed to the independent insurance agency.
                                                                                                                            x73126
Allstate Vehicle and Property lnsurance Company
                                                     x72007-1
                                                                 You're Receiving the Responsible
Did Extraordinary Circumstances Affect                           Payment Discount
Your Credit lnformation?                                         As an added benefit of being an Allstate customer, you're
                                                                 receiving our Responsible Payment Discount on your House &
Allstate understands that people sometimes face difficult
                                                                 Home policy.
circumstances. lf extraordinary life events have negatively
affected your credit history, you may request that we consider   Here's how the Responsible Payment Discount works. From
this when we review your credit information, as part of the      this point on, you will continue to receive this discount:
policy rating process. These extraordinary life circumstances    r   lf you pay your premium in full.
include:
                                                                 o   lf you pay your premium through a third party (e.g.,
    Divorce                                                          escrow).
a   Death of a Spouse or Member of the Same Household            o   lf we do not send you a cancellation notice for
a   lnvoluntary Unemployment                                         nonpayment of premium (the billing notice we send when
a   Catastrophic Medical Expense                                     we don't receive your payment on time).

    Care of Adult Dependent
                                                                     -    lf we send you a cancellation notice for nonpayment of
                                                                          premium and your policy renews, the discount will be
    ldentity Theft
                                                                          reduced at renewal, which may cause your overall
a   Long-Term lnjury, lllness or Disability                               insurance premium to increase.
a   Care of a Dependent Grandchild                                   -    lf this discount is reduced because of a cancellation
a   Domestic Violence                                                     notice, we will add it back to your policy at renewal if
a   Total or Other Loss That Makes Your Home Uninhabitable                no cancellation notices for nonpayment of premium
                                                                          have been sent to you within the most recent
Your Next Steps                                                           twelve-month period ending 45 days prior to your
lf you believe any of these experiences have negatively                   renewal effective date.
affected your credit history, please contact your Allstate
representative or call Allstate directly all-877-304-2644. t     Payment Options to Help You Save Money
you decide you want us to review vour in{ormation, please give   We want you to continue saving money with the Responsible
us a call within 90 days of the date vour policy beeins (as      Payment Discount, so we offer several ways to make paying
shown in your Policv Declarations).                              your bills fast and easy.
                                                                                                                                              o
What You Can Expect                                              r   You can sign up for the Allstate@ Easy Pay Plan, which                   o
                                                                                                                                              o
                                                                     allows us to deduct your insurance premiums each month,                  o
lf you contact us, we will send you an Extraordinary                                                                                          o
                                                                     or in full, from your checking account. You'll save on                   o
Circumstances Appeal Form to complete and return to us. We                                                                                    o
also will ask you to provide any documentation that will help        postage, have fewer checks to write, and have the monthly
your appeal. Once we receive your Extraordinary                      installment fee reduced.                                                 o
                                                                                                                                              o
Circumstances Appeal Form and supporting documentation,          .   You can also pay your premium over the phone with either                 N

we will evaluate your appeal and determine whether or not you
                                                                                                                                               kN
                                                                     a check or credit card. Simply call us toll-free at                       o
                                                                                                                                               o
                                                                     1-800-ALLSTATE. You'll be asked for your policy number                    o
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    when you pay by phone, so it's a good idea to have your        reports and explain how important it is for you to check the
    policy documents in hand before you call.                      accuracy of that information.
o   You can set up an escrow account to ensure your                ln the state where we issued your policy we are required by law
    premiums are paid on time. (Please contact your mortgage       to inform you of certain factors in your credit report(s)
    lender for more information on setting up an escrow            adversely affecting your credit-based insurance score. The
    account.)                                                      most signif icant of these factors are:
.   You can choose to pay your premium in full.
                                                                   The average number of months that accounts are listed on the
Have Questions? Please Contact Us                                  credit report: Generally, the longer your average age of
lf you have any questions about the Responsible Payment            accounts, the more favorable your insurance score will be.
Discount, or if you'd like more information about the different    Those with the most favorable insurance scores often have an
bill paying options available to you, please contact your          average age of accounts of 16 years or longer.
Allstate representative, or call us toll-free at 1-800-4LLSTATE.   The presence of a collection within the past five years: When
                                                         x73075 we refer to    a "collection," this could include collections that
                                                                   were previously paid off or collections on closed accounts. We
                                                                   exclude medical collections that are identified as such. Those
Add the Enhanced Package to Your                                   with the most favorable insurance scores will typically have no
                                                                   collections on their credit report. Avoiding future collections
Policy and Save Even More                                          may lead to a more favorable insurance score.
Consider adding the Enhanced Package to your House & Home          The presence of a derogatory item within the past five years: A
policy for even greater value.                                     derogatory item may include a delinquency, a collection, or a
The Enhanced Package gives you all of these benefits:              derogatory public record, such as a bankruptcy, judgment, lien,
                                                                   repossession, or foreclosure. Avoiding derogatory items in the
o   Claim RateGuard@-Allows you to keep your Claim-Free            future may lead to a more favorable insurance score.
    Discount (if you qualify for the discount) ond protects your
    rate from going up just because you file a claim.              The presence of at most one account within the past five years:
                                                                   Generally, if you have two or more accounts on your credit
o   Claim-Free Bonus-Gives you up to a     5%o   premium credit
                                                                   report, you may receive a more favorable insurance score.
    each year you go without a claim.
                                                                   However, having too many accounts may also make your
o   Deductible Reward-You may qualify for an immediate             insurance score worse.
    $100 off a qualified deductible when you add the Enhanced
    Package. Then you'll get an additional $100 each
                                                                                                                                     xF4
    designated twelve month period you don't have a
    chargeable claim-up to $500 total.
lf you'd like to add the Enhanced Package to your House &          Consumer Report lnformation and lts
Home policy or have any questions about these features,            lmpact on Your lnsurance
please contact your Allstate representative. All Enhanced
Package features are subject to policy terms and conditions.       Many factors play a role in determining your insurance
                                                         x73736 premium. Among the factors we consider          are the following:
                                                                   where you live, the coverages and limits you've chosen and
                                                                   discount eligibility. ln addition, we use consumer reporting
lmportant lnformation About Your                                   agency information for eligibility and rating purposes. The
                                                                   federal Fair Credit Reporting Act requires us to inform you
Credit-Based lnsurance Score                                       when we take adverse action based on a consumer report.

Please take a moment to read the notice immediately following      As permitted by law, we ordered credit report information
this insert containing important information about our use of      about you - the named insured on the policy.
consumer reports and your rights under the federal Fair Credit
                                                                   Based in whole or in part on the information provided by the
Reporting Act. ln that notice, we explain why we order credit
                                                                   credit reporting agency listed below, the rate that we are able
                                                                   to offer you is higher than what it would have been if we had



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not taken your credit history into account: based on the credit     precisely, and we think that's good for our customers. lt allows
information available to us.                                        us to keep insurance costs as competitive as possible for the
                                                                    greatest number of policyholders. You can also learn more
You May Request a Free Credit Report                                about our use of credit information by visiting allstate.com.
Under Section 612 of the Fair Credit Reporting Act, you have
the right to obtain a free copy of your consumer report from the                                                                  xF2
credit reporting agency listed below if    you request it within 50
days of receiving this notice (even if the report did not contain
any information regarding credit status). You also have the          Consumer Report lnformation and                       lts
right, under Section 611 of the Fair Credit Reporting Act, to
dispute with the credit reporting agency listed below the
                                                                     lmpact on Your lnsurance
accuracy or completeness of any information in any report(s)         ln an effort to keep insurance costs as competitive as possible
furnished by the agency.                                             for the greatest number of policyholders, we may consider
lf you'd like a f ree copy of your credit report, be sure to make    certain prior insurance information, prior insurance loss
your request within 60 days of receiving this notice. You can        information and motor vehicle reports (MVR), when
contact the   reporting  agency  at:                                 determining   our customers' eligibility, premiums and payment
                                                                     options. We're writing now to let you know we recently
TransUnion National Disclosure Center                                ordered consumer report information about you and, if
2 Baldwin Place                                                      applicable, another insured person named on your policy, and
P.O. Box 1000                                                        we are providing you with additional details about this process.
Chester, PA19022
Phone: 1-888-503-0048                                                Based in whole or in part on the information provided to us by
www.tra n su n ion.com                                               Current Carrier Database (CCDB),Motor Vehicle Report
                                                                     (MVR), Allstate Vehicle and Property lnsurance Company
Please keep in mind that the consumer reporting agency did           could not offer you a lower rate.
not make the decision to take this adverse action and will not
be able to provide you with any specific reasons regarding why       Please keep in mind that the consumer reporting agency(ies)
we took this action. Also, any changes to     your name   or address did  not make the decision to take this adverse action and will
within the past two years can affect the completeness of your        not be able to provide you with any specific reasons regarding
report. lf your information has changed, please let your             why we took this action. Also, any changes to your name or
insurance representative know.                                       address within the past two years can affect the completeness
                                                                     of your file with the consumer reporting agency(ies). lf your
Have Questions? Please Contact Your Allstate                         information has changed, please let your insurance
Representative                                                      representative know.
We hope you will take advantage of these rights and help us         Under Section 612 of the Fair Credit Reporting Act, you have
give you the lowest premium we can provide. lf you have any
                                                                    the right to obtain a free copy of your report(s) provided to us
questions about the information contained in this notice, or
                                                                    by the consumer reporting agency listed below if you reguest it
about your insurance in general, please contact your insurance      within 60 days of receiving this notice. You also have the right,
representative.                                                     under Section 611 of the Fair Credit Reporting Act, to dispute
The Connection Between Credit History and                           with the consumer reporting agency the accuracy or
                                                                    completeness of any information in the consumer report(s)
Premium
                                                                    furnished by the agency.
We determine premiums using the information you provide on                                                                                      o
                                                                                                                                                o
your insurance application, as well as using other factors.         To request your report, you may contact the appropriate                     o
                                                                                                                                                o
Certain credit report information has proved an effective           consumer reporting agency at:                                               o
                                                                                                                                                o
predictor of insurance losses. lt also allows us to keep costs                                                                                  N
                                                                                                                                                o
                                                                    LexisNexis Risk Solutions
competitive by helping make it possible for customers who are                                                                                   o
                                                                    PO Box 105108                                                               o
less likely to experience losses to pay less for their insurance.                                                                               o
                                                                    Atlanta, GA 30348-5108
Keep in mind we use credit history in addition to, not instead                                                                                  N
                                                                    Phone: (800) 456-6004 lVR, 1-888-497-0011 for live agent                    R
of, our other characteristics. By considering this information,                                                                                 o
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lf you have any questions regarding this notice or your policy in
general, please contact your insurance representative.
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Privacy Statement
Policy number:
Policy effective date:
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                                                                          Pagel of   2     @,4llstate"
Thank you for choosing Allstate. We value you, respect your          your driving record, claims history, medical information and
privacy and work hard to protect your personal information.          credit information.
This statement is provided on behalf of Allstate lnsurance           ln addition, Allstate and its business partners gather
Company and the affiliates ("Allstate") listed at the end of this    information through lnternet activity, which may include, for
notice. We would like to explain how we collect, use and share       example, your operating system, links you used to visit
the information we obtain about you in the course of doing           allstate.com, web pages you viewed while visiting our site or
business.                                                            applications, lnternet Protocol (lP) addresses, and cookies. We
                                                                     use cookies, analytics and other technologies to help:
Our Privacy Assurance                                                e Evaluate our marketing campaigns
o   We do not sell your personal or medical information to           .   Analyze how customers use our website and applications
    anyone.                                                          o   Develop new services
.   We do not share your information with non-affiliate              o   Know how many visitors have seen or clicked on our ads
    companies that would use it to contact you about their
    own products and services, unless permitted pursuant to      a   Also, our business partners assist us with monitoring
    joint marketing agreement.                                       information including, but not limited to, lP addresses, domain
o   We require persons or organizations that represent or            names and browser data, which can help us to better
    assist us in servicing your policy and claims to keep your       understand how visitors use allstate,com.
    information confidential.                                        How We Use and Share Your Personal lnformation
o   We require our employees to protect your personal
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    information and keep it confidential.                            your personal information. We may provide your information
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important to us. ln addition to the practices described above,       would be done as required or permitted by law. For example,
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Social Security Numbers (SSN), this includes restricting access      . Market our products
to our employees, agents and others who use your SSN only as         . Handle your claim
permitted by law: to comply with the law, to provide you with        o Prevent fraud
products and services, and to handle your claims. Also, our          r Comply with requests from regulatory and law
employees' and agents'access to and use of your SSN are                    orcement authorities
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limited by the law, our policies and standards, and our written      r   Participate in insurance support organizations
agreements.
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Our privacy practices continue to apply to your information          personal information may include, among others:
even if you cease to be an Allstate customer.                        r Your agent, broker or Allstate-affiliated companies
                                                                     r Companies that perform services, such as marketing,
What Personal lnformation Do We Have and Where                           credit card processing, and performing communication
Do We Get lt                                                             services on our behalf
We gather personal information from you and from outside             o Business partners that assist us with tracking how visitors
sources for business purposes. Some examples of the                      use allstate.com
information we collect from you may include your name, phone         r Other financial institutions with whom we have a joint
number, home and e-mail addresses, driver's license number,              marketing agreement
Social Security Number, marital status, family member                r Other insurance companies that play a role in an insurance
information and healthcare information. Also, we maintain                transaction with you
records that include, but are not limited to, policy coverages,      o lndependent claims adjusters
premiums, and payment history. We also collect information           o A business or businesses that conduct actuarial or
from outside sources including, but not limited to, insurance            research studies
support organizations that assemble or collect information           r Those who request information pursuant to a subpoena or
about individuals for the purpose of providing to insurance              court order
companies. This information may include, but is not limited to,      .   Repair shops and recommended claims vendors

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Privacy Statement                                                                                                          Page 2 ol 2
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Policy effective date       )uly 4,2022



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the settings on your web browser. Also, if you would like to        Thank you for choosing Allstate. We understand your concerns
learn about how we gather and protect your information over         about privacy and confidentiality, and we hope this notice has
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the bottom of the allstate.com homepage.                            look forward to keeping you in Good Hands@.

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     number assigned to your computer when you use the              procedures, and terms.
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the address below requesting to see your information for the
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previous two years. lf you believe that our information is
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incomplete or inaccurate, you can request that we correct it.
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Please note we may not be able to provide information relating
to investigations, claims, litigation, and other matters. We will
be happy to make corrections whenever possible.
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Please send requests to:                                                                                                    X7318Ov6
Allstate lnsurance Company Customer Privacy lnquiries
PO Box 660598
Dallas, TX75266-0598

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